                                                      UNITED STATES DISTRICT COURT
                                                     EASTERN DISTRICT OF TENNESSEE


 UNITED STATES OF AMERICA,                                             )
                                                                       )
                              Plaintiff,                               )
                                                                       )   No. 3:16-CR-20
 v.                                                                    )
                                                                       )   Judge Collier
 MARK HAZELWOOD,                                                       )
                                                                       )
                              Defendant.                               )


      EXPERT REPORT ON SAMPLING OF BENJAMIN S. WILNER, Ph.D.
 Alvarez & Marsal Disputes and Investigations, LLC (“A&M”) has been retained by counsel
 representing the Defendant, Mark Hazelwood, to comment on the alleged customer loss in the
 aforementioned matter. In particular, in this Expert Report, I, Benjamin S. Wilner Ph.D., am
 evaluating the statistical sampling analysis of Vic Alexander, CPA, ABV, CFF and KraftCPAs
 PLLC included in his July 18, 2018 as well as his August 20, 2018 letters to Aubrey B. Harwell,
 Jr.1
 I conclude that the Government and Mr. Alexander made mathematical and methodological
 errors that fatally undercut his sampling analysis. He utilized an incorrect sampling procedure.
 Mr. Alexander did not accurately describe the universe / target population or Sampling Frame.
 He incorrectly calculated his sample size because he misapplied a Federal government rule that
 could be superseded by other rules. He further utilized an improper metric that caused him to
 draw incorrect conclusions from his analysis. His analysis is also statistically imprecise.
 Additionally, the Government blindly applied Mr. Alexander’s conclusions, which relate to one
 data series, to another data series.
 If one assumes that the sampling data Mr. Alexander generated and his reimbursement
 calculations are accurate, I find that by applying proper statistical analyses, the losses attributed
 to Mr. Hazelwood are at most $9,924,263, and not the $10,405,836 in the Government’s August
 1, 2018 Notice of No Objection to the Presentence Investigation Report For Defendant
 Hazelwood. The Expert Report of Philip E. Kruse, C.P.A. (“Kruse Report”) demonstrates that
 Mr. Alexander made errors in recalculating customer reimbursements. I demonstrate that these
 errors would have a sizable effect. For example, if the reimbursements for just eight customers
 Mr. Alexander studied were changed by 10%, the losses attributed to Mr. Hazelwood for the 78
                                                             
 1
   As Mr. Alexander signed a letter on this date introducing the July 18th Report and referred to it as “My work,” for
 the purposes of this Expert Report, I refer to this analysis as being in Mr. Alexander’s July 18th Report and Mr.
 Alexander’s August 20th Report.


                                                                   1
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 1 of 60 PageID #:
                                   18862
 customers identified in the Government’s August 1, 2018 Notice of No Objection to the
 Presentence Investigation Report For Defendant Hazelwood would be reduced by almost $1.9
 million, not the approximately $480,000 shown in that Notice. Consequently, small changes in
 the reimbursement amounts inputted into Mr. Alexander’s model would have a large effect on
 the True Loss Allegedly Relevant to Mr. Hazelwood, demonstrating the instability of his model.
 I generated the aforementioned conclusions by solely reviewing Mr. Alexander’s Report, court
 submissions as well as various statistics texts cited in this Expert Report. Exhibit 1 is a full
 listing of the documents I considered. I reserve the right to modify and/or expand my opinions
 as I obtain and analyze additional information.
 No one from A&M who has contributed to this engagement has any known financial interest in
 any party to the matter. A&M’s compensation is neither based nor contingent on the results of
 this analysis.
 This Report is provided solely for use in the matter described in the caption at the top of this
 Report. This Report is not to be used with, circulated, quoted or otherwise referred to in whole or
 in part for any other purpose, or in any other document without the express written consent of
 Alvarez & Marsal Disputes and Investigations, LLC.



  I. Qualifications
 My qualifications are stated in my curriculum vita, which is attached as Exhibit 2. That Exhibit
 details my education, credentials, testimony, publications and relevant presentations.
 I am a Managing Director at Alvarez & Marsal Disputes and Investigations, LLC. I have
 performed economic and statistical analyses in a great variety of engagements, including
 financial analysis, contract losses, a wide range of class action, intellectual property and lost
 income matters. In addition to testifying in a variety of matters, I also serve as a business
 consultant. For example, I have been retained by the U.S. Department of Homeland Security to
 economically and statistically analyze various proposed policies. For one such project, I
 received a special commendation from the Commissioner of U.S. Customs and Border Protection
 for revising a $2.5 billion annual tariff. I also have been retained as a statistician by the Office of
 Mortgage Settlement Oversight, the Illinois Department of Insurance, the National Science
 Foundation and multiple corporations.
 I have a Bachelor of Arts degree, Magna cum Laude with Distinction in Major in Mathematics
 and Economics from the University of Pennsylvania as well as a General Course Degree in
 Mathematics and Statistics from the London School of Economics. I was awarded a Ph.D. in
 Managerial Economics and Decision Science from the Kellogg Graduate School of Management
 at Northwestern University.
 I have served as a professor of economics, finance and statistics in the business schools at the
 University of Michigan, the University of Iowa, Northwestern University and the Helsinki
 School of Economics. I received multiple teaching awards.


                                                   2
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 2 of 60 PageID #:
                                   18863
 My research has been published in the peer reviewed academic journals including the Journal of
 Finance, the leading academic journal in finance. I have been awarded research grants from
 multiple universities as well as from the United States Government’s National Science
 Foundation. My research has been extensively cited. For example, the former President of the
 University of Chicago relied on my undergraduate thesis as the theoretical basis for one of his
 published research papers. I also served as a referee for multiple academic journals and
 textbooks.
 As an undergraduate, I spent three years as a research assistant to the 1980 Nobel Prize winner
 Lawrence R. Klein. Dr. Klein was awarded the Nobel Prize in Economics for economic and
 statistical forecasting. As a graduate student, I studied under Roger Myerson, who won the 2007
 Nobel Prize in Economics for a type of game theoretic modeling, and Dale Mortensen, who won
 the 2010 Nobel Prize in Economics for his study of labor markets.



     II. Sampling Analysis in the Alexander Reports
 Mr. Alexander noted in his July 18th Report that Pilot Flying J’s Internal Audit department
 reviewed the Attributed Losses Pilot Flying J previously calculated and recalculated the losses
 each customer allegedly suffered because of the Defendant’s alleged actions. He called Internal
 Audit’s recalculated figures the “IA Over/Under Reimbursements.”
 However, he noted that the Internal Audit department’s recalculations could be erroneous. To
 measure the magnitude of Pilot Flying J’s errors, Mr. Alexander sampled these customer files
 and recalculated what the alleged loss was for those sampled files. He then extrapolated the
 recalculated results from these sample observations to all allegedly relevant customers. In his
 extrapolation, he concluded that the “IA Over/Under Reimbursements” were overstated by
 4.39%. I call this 4.39% the Reduction Percentage.
 The Government in its August 1, 2018 Notice of No Objection to the Presentence Investigation
 Report For Defendant Hazelwood concluded that only $10,883,627 in Attributed Losses were
 relevant to Mr. Hazelwood before applying the Reduction Percentage. After applying Mr.
 Alexander’s 4.39% Reduction Percentage (that was based on “IA Over/Under Reimbursements”)
 to the Attributed Losses, the Government claims that Attributed Losses were overstated by
 $478,142.
 The only reference to his sampling analysis in Mr. Alexander’s July 18th Report is on pages 5 –
 6. The relevant paragraphs state:
        Kraft selected a statistically valid random sample (“SVRS”) from the universe of
        the 313 PFJ customers included in the 2015 Project [Footnote: Due to time
        constraints, it was not possible to wait until Kraft had completed the attribution
        analysis that reduced the universe of customers from 313 to 214 customers before
        beginning the SVRS analysis. Therefore, Kraft pulled the SVRS from the original
        set of 313 customers whose losses were attributed in the 2015 Project.] in order
        to determine what discounts should have contemporaneously applied to a
        customer’s diesel fuel purchases (“SVRS Discounts”). In calculating the SVRS

                                                3
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 3 of 60 PageID #:
                                   18864
               Discounts, Kraft used a holistic and objective business approach limiting the
               benefit of the doubt to the customer [Footnote omitted] and searched historical
               documents for additional communication of customer discounts. Kraft computed
               the difference between the Applied Discounts and the SVRS Discounts (“SVRS
               Reimbursements”).
               In selecting the sample from the universe of customers, Kraft used a statistically
               valid random sampling tool, RAT‐STATS 2010, as utilized by the U.S.
               Department of Health and Human Services Office of the Inspector General
               (“OIG”). The OIG recommended a 90 percent confidence level and 25 percent
               precision level. Based on these inputs, RAT‐STATS 2010 randomly selected a
               sample of 133 customer months. [Footnote: There were 8812 unique customer
               loss calculations (i.e., a customer’s monthly loss amount) in the universe of 313
               customers from the 2015 Project. RAAT (sic.) STATS’s sample included 133
               specific monthly loss amounts out of the total of 8812 such monthly amounts. The
               133 monthly loss amounts in the sample were associated with a total of 103
               customers.] Kraft calculated the SVRS reimbursements for this sample to
               compare with the IA Reimbursements.

               To compute a reduction for the benefit‐to‐the‐customer methodology, Kraft
               aggregated instances where the IA Reimbursements exceeded the SVRS
               Reimbursements (“Potential Overpayments”) and divided the Potential
               Overpayments by the IA Reimbursements. [Footnote omitted] The reduction
               percentage was extrapolated across attributed customer losses. Kraft calculated a
               reduction factor of 4.39%; therefore, all attributed losses were reduced by 4.39%.
               Kraft created a folder for each sampled customer located in subfolder “3_SVRS”
               of Exhibit B that includes a Repricing Memorandum, Kraft’s SVRS
               Reimbursement calculation, [Footnote omitted] the IA Reimbursement
               calculation, and an “Attachments” subfolder that contains the supporting
               documents used in Kraft’s calculation. The Repricing Memorandum provides a
               customer overview, [Footnote omitted] discounts used in the SVRS
               Reimbursement computation, and a comparison to the IA Reimbursement. The
               statistically valid random sample and the SVRS reduction percentage are also
               located in subfolder “3_SVRS” of Exhibit B.2
 Data underlying Mr. Alexander’s sampling analysis were contained in his August 20th Report.




                                                             
 2
  Alexander July 18th Report, p. 5 – 6. As discussed in the next Section, I have no independent opinion about Mr.
 Alexander’s actual accounting calculations. The omitted footnotes refer to Mr. Alexander’s accounting calculations.


                                                                4
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 4 of 60 PageID #:
                                   18865
 III. Summary of Opinions
 This Expert Report solely focuses on Mr. Alexander’s statistical sampling analysis. I have no
 independent opinions about the accounting validity or accuracy of the Attributed Losses, “IA
 Over/Under Reimbursements,” or “SVRS Over/Under Reimbursements” for each customer
 month. For the purposes of most of my Expert Report, I assume these figures are valid and
 accurate in an accounting sense for each customer month. To the extent that they are invalid
 and/or inaccurate in an accounting sense, Mr. Alexander’s analysis is further compromised. As
 discussed below, I also perform a statistical analysis of the data simulating some of Mr. Kruse’s
 critiques of Mr. Alexander’s work recalculating the reimbursements.
 As discussed below, I conclude that Mr. Alexander has not performed a valid statistical sampling
 and extrapolation analysis in his Reports. My Expert Report demonstrates that even if Mr.
 Alexander’s reimbursement calculations are valid and accurate from an accounting point of
 view, he did not calculate a statistically valid Reduction Percentage.
 My Expert Report continues in Section IV below by providing some background on proper
 statistical sampling and generally recognized steps that are required to perform a statistical
 extrapolation. However, as discussed below, Mr. Alexander failed to perform to these steps.
 In Section V, I show that Mr. Alexander did not accurately describe the universe / target
 population. Section VI shows that Mr. Alexander did not properly define the Sampling Frame.
 By misdefining the universe / target population and the Sampling Frame, Mr. Alexander cannot
 generalize his conclusions to the entire target population / universe or even claim that his survey
 is “worthwhile.” Consequently, he cannot say that his Reduction Percentage is applicable to the
 allegedly relevant customers.
 Section VII demonstrates that Mr. Alexander incorrectly calculated the Sample Size. Mr.
 Alexander allegedly utilized the sample size guidelines of the U.S. Department of Health and
 Human Services OIG; however, he did not properly apply the guidelines. In addition, Mr.
 Alexander did not demonstrate why other governmental guidelines are not proper for this
 analysis. These other guidelines require different sample sizes than what Mr. Alexander utilized.
 Lastly, the OIG guidelines, that Mr. Alexander allegedly utilized, require the sampler to verify
 that their conclusions conform to the relevant statistical parameters; however, Mr. Alexander
 also failed to perform this step in his analysis.
 Section VIII illustrates that Mr. Alexander’s analysis demonstrates that Pilot Flying J’s Internal
 Audit department’s analysis of “IA Over/Under Reimbursements” as well as the Attributed
 Losses are unreliable.
 Section IX demonstrates how Mr. Alexander utilized an improper statistical metric to calculate
 his Reduction Percentage.
 Section X hypothetically assumes that Mr. Alexander properly selected his sample and his
 reimbursement calculations are accurate. It goes on to demonstrate that Mr. Alexander
 overstated the loss allegedly attributable to Mr. Hazelwood under these assumptions if one
 conducts a proper statistical analysis.


                                                 5
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 5 of 60 PageID #:
                                   18866
 Section XI provides some simulations on how the losses allegedly attributable to Mr. Hazelwood
 would significantly change if Mr. Alexander overstated some of the reimbursements in his
 sample.
 Section XII concludes.



 IV. Statistical Sampling Background
 Statistics is vital to the sampling analysis Mr. Alexander performed. In essence, Mr. Alexander
 performed a survey of customer reimbursements. He attempted to extrapolate results from his
 surveys to all allegedly relevant customers. Because “[i]n practice, surveys typically count or
 measure only a portion of the individuals or other units that the survey is intended to describe,”3
 unbiased, representative and non-“cherry picked” sampling is required. The Reference Guide on
 Statistics published by the Federal Judicial Center states “[i]n short, a good survey defines an
 appropriate population, uses a probability method for selecting the sample, has a high response
 rate, and gathers accurate information on the sample units.”4 Statistical tools such as variance,
 standard deviation, and confidence intervals are applied to best describe the survey’s results.

 As set forth below, Mr. Alexander did not perform such generally recognized steps that are
 required to perform the extrapolation he attempts to include in his Report. Consequently, his
 results cannot be extrapolated to all allegedly relevant customers.



     V.          Mr. Alexander Does Not Accurately Describe the
                 Universe / Target Population
 “The target population [or universe] consists of all elements (i.e., individuals or other units)
 whose characteristics or perceptions the survey is intended to represent.”5
 According to Mr. Alexander, “[t]here were 8812 unique customer loss calculations (i.e., a
 customer’s monthly loss amount) in the universe of 313 customers.”6
 However, the Government changed the universe / target population in its August 1, 2018 Notice
 of No Objection to the Presentence Investigation Report For Defendant Hazelwood submission
 when it restricted the universe / target population to 78, not 313, customers. Consequently, the
 universe / target population Mr. Alexander utilized in his sampling analysis deviates from the
 universe / target population the Government now says is relevant.
                                                             
 3
   Diamond, Shari Seidman. “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence,
 Third Edition, 2011, Federal Judicial Center (“Reference Guide on Survey Research”), p. 361.
 4
   Kaye, David H. and David A. Freedman. “Reference Guide on Statistics,” in Reference Manual on Scientific
 Evidence Third Edition, Federal Judicial Center, 2011 (“Reference Guide on Statistics”), p. 226.
 5
   Reference Guide on Survey Research, p. 376 (emphasis added)
 6
   Mr. Alexander’s July 18th Report, p. 5 at footnote 12.


                                                                6
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 6 of 60 PageID #:
                                   18867
 Even without this Governmental change, Mr. Alexander is not internally consistent in his July
 18th Report with regards to the universe / target population. While Mr. Alexander stated in his
 July 18th Report that the universe was the 313 customers in the above quote, the overall loss
 conclusion in his July 18th Report relates to 214 customers. Consequently, the universe / target
 population Mr. Alexander utilized in his sampling analysis deviates from the universe / target
 population even he said was relevant.
 An improperly defined universe / target population could invalidate a sampling analysis even
 before any calculations are performed.



 VI. Mr. Alexander Did Not Properly Define the Sampling
     Frame
 “The sampling frame is the source (or sources) from which the sample actually is drawn.”7
 As of July 18, 2018, the date of Mr. Alexander’s first Report, Mr. Alexander claimed that the
 target population / “universe [is] the 313 PFJ customers included in the 2015 Project” and that he
 sampled from all 313 of these customers.8 Consequently, the Sampling Frame equals all 313
 customers.
 However, as discussed in the prior Section, Mr. Alexander misdefined the relevant target
 population / universe. It is my understanding that some of the 313 PFJ customers are unrelated
 to Mr. Hazelwood (e.g., American Furniture, Andrus Transportation, Bestway System, and
 Buchanan Hauling & Rigging). As mentioned above, in its August 1, 2018 submission, the
 Government also limited the relevant target population / universe to 78 customers.9 As a result,
 Mr. Alexander’s Sampling Frame is overinclusive relative to the relevant target population /
 universe.
 Standard texts discuss problems when the Sampling Frame and the target population / universe
 differ. For example, the Reference Guide on Survey Research states:
               More commonly, however, the sampling frame and the target population have
               some overlap, but the overlap is imperfect: The sampling frame excludes part of
               the target population, that is, it is underinclusive, or the sampling frame includes
                                                             
 7
   Reference Guide on Survey Research, p. 240. (emphasis added)
 8
   Mr. Alexander’s July 18th Alexander Report, p. 5. Footnote 10 of the Alexander Report is unclear and could be
 interpreted to imply that he only sampled from 214 customers because “time constraints” “prevented” him from
 analyzing 99 (over 30%) of the allegedly relevant customers. In such a case, Mr. Alexander’s Sampling Frame
 could be underinclusive of the target population / universe. He presents no analysis for why the 99 customers were
 not analyzed. He did not investigate whether the excluded customers differed in any way from the included
 customers. Without such an investigation, Mr. Alexander cannot generalize his conclusions to the entire target
 population / universe or even claim that his survey is “worthwhile.” Additionally, it could be possible that Mr.
 Alexander “cherry picked” the customers he did analyze and purposefully excluded the customers allegedly due to
 “time constraints,” which “prevented” him from analyzing, to artificially lower the Reduction Percentage.
 9
   Government’s Notice of No Objection to the Presentence Investigation Report For Defendant Hazelwood.


                                                                7
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 7 of 60 PageID #:
                                   18868
               individuals who are not members of the target population, that is, it is
               overinclusive relative to the target population. Coverage error is the term used to
               describe inconsistencies between a sampling frame and a target population. If the
               coverage is underinclusive, the survey’s value depends on the proportion of the
               target population that has been excluded from the sampling frame and the extent
               to which the excluded population is likely to respond differently from the
               included population….
               If the survey expert can demonstrate that a sufficiently large (and representative)
               subset of respondents in the survey [with an overinclusive sampling frame] was
               drawn from the appropriate sampling frame, the responses obtained from that
               subset can be examined, and inferences about the relevant population can be
               drawn based on that subset. [Footnote: See National Football League Props. Inc.
               v. Wichita Falls Sportswear, Inc. 532 F. Supp. 651, 657–58 (W.D. Wash. 1982).]
               If the relevant subset cannot be identified, however, an overbroad sampling frame
               will reduce the value of the survey. [Footnote: See Leelanau Wine Cellars, Ltd. v.
               Black & Red, Inc., 502 F.3d 504, 518 (6th Cir. 2007) (lower court was correct in
               giving little weight to survey with overbroad universe); Big Dog Motorcycles,
               L.L.C. v. Big Dog Holdings, Inc., 402 F. Supp. 2d 1312, 1334 (D. Kan. 2005)
               (universe composed of prospective purchasers of all t-shirts and caps
               overinclusive for evaluating reactions of buyers likely to purchase merchandise at
               motorcycle dealerships). See also Schieffelin & Co. v. Jack Co. of Boca, 850 F.
               Supp. 232, 246 (S.D.N.Y. 1994).]10
 W. Edwards Deming, a leading statistician, wrote:
               The frame must cover enough of the universe to make the study worthwhile….
               [T]he results of any survey or experiment may be limited if a proposed frame and
               experimental conditions fail to include all the materials, areas, methods, levels,
               types, and conditions concerning which he desires information…. The
               statistician’s report will cover only the frame that was subjected to sampling. It
               will not attempt to generalize to other firms, people, cities, material,
               concentrations, levels, and conditions not covered by the survey or experiment.
               ….
               [I]f a medical survey be carried out in Chicago, … [testing results] will clearly
               refer only to Chicago, or to whatever part of Chicago was in the frame and hence
               subjected to the sampling procedure…. No statistical theory in existence can carry
               the generalization from Chicago to Denver, as Denver was not in the frame.11
 Mr. Alexander presented no analysis of whether the relevant population / universe forms a
 sufficiently large subset of the Sampling Frame. Nor did Mr. Alexander show that the customers
 in the Sampling Frame are representative of the customers in the relevant population / universe.
                                                             
 10
   Reference Guide on Survey Research, p. 378.
 11
   Deming, W. Edwards Sample Design in Business Research, John Wiley, 1960 (“Deming”), p. 9 – 10, 13, and 14 –
 15.


                                                                8
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 8 of 60 PageID #:
                                   18869
 He did not analyze the extent to which the subset of customers in the Sampling Frame, but not in
 the relevant population / universe, is likely to be different from the subset in both. He did not
 show that these two subsets cover the same “materials, areas, methods, levels, types, and
 conditions.”
 Without such an analysis, Mr. Alexander cannot generalize his conclusions to the entire target
 population / universe or even claim that his survey is “worthwhile.” Consequently, he cannot
 say that the Reduction Percentage he calculated is applicable to all the allegedly relevant
 customers. Because the Government’s final calculations multiply the Reduction Percentage Mr.
 Alexander calculated by the Attributed Losses just the customers listed in the Notice of No
 Objection to the Presentence Investigation Report For Defendant Hazelwood submission, the
 Government’s conclusion does not follow from Mr. Alexander’s statistical analysis.
 In addition to the difference between the number of customers in the universe / target population
 and the Sampling Frame, different data are measured for the customers in the universe / target
 population and the Sampling Frame. While the universe / target population in the Government’s
 August 1, 2018 Notice of No Objection to the Presentence Investigation Report For Defendant
 Hazelwood covers Attributed Losses, the Sampling Frame that Mr. Alexander includes “IA
 Over/Under Reimbursements,” not Attributed Losses. As “IA Over/Under Reimbursements”
 differ from Attributed Losses, Mr. Alexander’s Sampling Frame generates conclusions about
 something different than the universe / target population.
 One cannot blindly apply conclusions generated from one data series to another data series as the
 Government attempts to do. This mismatch of the Sampling Frame and universe / target
 population further compromises Mr. Alexander’s and the Government’s analysis.



VII. Mr. Alexander Incorrectly Calculated the Sample Size
 Mr. Alexander’s sole statement in his July 18th Report regarding how he selected his sample size
 is contained in one sentence:
               The [U.S. Department of Health and Human Services Office of the Inspector
               General (“OIG”)] recommended a 90 percent confidence level and 25 percent
               precision level.12
 Section A below provides statistical background explaining the terms in Mr. Alexander’s sample
 size sentence above. Section B demonstrates that Mr. Alexander misapplied this OIG guidance.
 Section C shows why the OIG’s recommendations might not be proper within the context of this
 litigation.




                                                             
 12
      Alexander July 18th Report, p. 5.


                                                                9
  
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 9 of 60 PageID #:
                                   18870
         A. Statistical Background
  Let’s say that someone flips a fair coin 100 times. Their best guess is that they would obtain 50
  heads. However, they likely would not be surprised if they would obtain 48 or 51 heads as
  randomness reasonably could cause such deviations. However, they likely would be surprised if
  they obtained 10 heads. While theoretically possible, the odds of obtaining 10 heads are so low
  that such a result should be considered unlikely.
  Statisticians have built on this concept with something called a Confidence Interval. A
  statistician would say that they are 95% confident in the 100 coin flip example that between 42
  and 58 heads would be obtained. In other words, they are 95% confident of obtaining 50% ± 8%
  heads. In this example, 50% is called the Point Estimate and 8% is called the Margin of Error.
  A statistician could also use a different confidence level and state that they are 90% confident of
  obtaining 50% ± 6.5% heads.
  While 90%, 95% and 99% confidence levels are standardly utilized, there is no statistical rule
  stating which level should be utilized, but, as discussed in the next Section, various government
  agencies have made recommendations. Judge Richard Posner wrote that the use of a 95%
  confidence level
                is arbitrary… It is for the judge to say, on the basis of the evidence of a trained
                statistician, whether a particular significance level, in the context of a particular
                study in a particular case, is too low to make the study worth the consideration of
                judge or jury.13
  While a statistician would be 95% confident of obtaining 50% ± 8% heads if a coin was flipped
  100 times, they would be 95% confident of obtaining 50% ± 50% heads if a coin was flipped
  twice as 50% heads is most likely, but the probabilities of obtaining 2 heads or 2 tails are high.
  Alternatively, a statistician would be 95% confident of obtaining 50% ± 2.6% heads if a coin was
  flipped 1,000 times.
  The prior paragraph provides an example of how the Margin of Error is inversely related to the
  number of coin flips. In other words, the Margin of Error is lower (higher) with more (fewer)
  coin flips. Statisticians have standard formulas to determine what the Margin of Error would be
  for a given number of coin flips.
  Statisticians ask the converse question in order to calculate recommended sample size: how
  many coin flips would have to occur in order to obtain a given Margin of Error. Answers can be
  obtained by algebraically reversing these standard formulas.
  There is a statistical concept called Precision, where Precision equals the Margin of Error
  divided by the Point Estimate. For example, the Precision for a Confidence Interval of 50% ±
  8% heads is 16% (= 8 / 50). Consequently, if the Point Estimate and the desired Margin of Error
  are known, a statistician can utilize the reversed standard formulas to calculate a recommended
  sample size.

                                                              
  13
       Kadams v. MCI Systemhouse Corp., 255 F.3d 359 (7th Cir. 2001)


                                                                 10
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 10 of 60 PageID #:
                                    18871
  The above discussion describes an analysis of a binary choice: Yes or No. This is often called
  Attribute Sampling as the surveyor asks whether a given attribute exists in a universe / target
  population. For example, one might ask whether heads occur in a coin flip or whether an “IA
  Over/Under Reimbursement” and/or Attributed Loss is accurate or not.
  An enhanced statistical methodology is required if one wants to ask the further question of
  quantifying the magnitude by which the “IA Over/Under Reimbursements” and/or Attributed
  Losses are inaccurate. Sampling in order to quantify such monetary disparities is often called
  Variable Sampling.
  Because Mr. Alexander is attempting to quantify the amount by which “IA Over/Under
  Reimbursements” were overstated, his analysis requires Variable Sampling.
  To determine the required sample size in Variable Sampling, one needs to know more than just
  the desired Margin of Error. One needs to know at least the Standard Deviation of the monetary
  disparities. The Standard Deviation measures the deviations from the average inherent in the
  data. For example, a Standard Deviation of zero for the overstated amount would result if the
  “IA Over/Under Reimbursements” were overstated by exactly $100 for each sampled item. The
  Standard Deviation would be greater in a Hypothetical Scenario 1, where half of the “IA
  Over/Under Reimbursements” were overstated by $50 and half overstated by $150, than in a
  Hypothetical Scenario 2, where half of the “IA Over/Under Reimbursements” were overstated by
  $90 and half overstated by $110. In general, the greater the Standard Deviation, the greater the
  required sample size.
  It is important to note two things when attempting to use sampling to determine errors in
  calculations like “IA Over/Under Reimbursements.”
  First, there are two potentially relevant data series at issue in Mr. Alexander’s analysis: 1) “IA
  Over/Under Reimbursements” and 2) the Errors in “IA Over/Under Reimbursements,” which
  Mr. Alexander calls the Potential Overpayments. Mr. Alexander shows sample data for the first
  data series in the third column of Exhibit C to his July 18th Report. Mr. Alexander shows sample
  data for the second data series in the last column of that Exhibit.
  When one determines sample size, it is vital to use the Standard Deviation / Margin of Error /
  Precision from the proper data series. In the situation relevant for this matter, statistical formulas
  require the use of the Standard Deviation / Margin of Error / Precision from the Potential
  Overpayments data series and NOT the “IA Over/Under Reimbursements” data series.
  However, Mr. Alexander did the converse. His sample size formulas are based on the Standard
  Deviation / Margin of Error / Precision from the “IA Over/Under Reimbursements” data series
  and NOT the Potential Overpayments data series.
  By utilizing the incorrect data series, Mr. Alexander significantly skewed the Standard Deviation
  / Margin of Error / Precision that his computer program utilized. For example, Exhibit 3 shows
  that the Standard Deviation for the “IA Over/Under Reimbursements” based on Mr. Alexander’s
  sample data is $7,693, while the Standard Deviation for the Potential Overpayments based on
  Mr. Alexander’s sample data is only $489.



                                                   11
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 11 of 60 PageID #:
                                    18872
  Second, statisticians need to account for a “circular logic” wrinkle when using the statistical
  formulas that require a Standard Deviation / Margin of Error / Precision. In this example, the
  Standard Deviation / Margin of Error / Precision of the Potential Overpayments is required to
  determine the sample size necessary to commence the sampling analysis. However, data on the
  Potential Overpayments (including its Standard Deviation / Margin of Error / Precision) are
  generated by the sampling analysis. Consequently, data “required” to commence the analysis is
  only generated by completing that analysis.
  To get around this “circular logic” wrinkle, statisticians either estimate what the Standard
  Deviation / Margin of Error / Precision from the Potential Overpayments will be or conduct what
  is called a Probe Sample. A Probe Sample is where the statistician determines the Potential
  Overpayments for a few data points and uses information from those few data points to estimate
  the Standard Deviation / Margin of Error / Precision from the Potential Overpayments.
  Mr. Alexander recognized the need to obviate this “circular logic” wrinkle when he stated in his
  August 20th Report that he used a Probe Sample. He demonstrated this fact with the following
  picture in this August 20th Report that highlights “Using a Probe Sample.”
                  Excerpt from Page 2 of Mr. Alexander’s August 20th Report




  As discussed in the next Subsection, Mr. Alexander did not properly perform these sample size
  analyses.




                                                12
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 12 of 60 PageID #:
                                    18873
         B. Mr. Alexander Did Not Properly Apply The U.S. Department of
            Health and Human Services Office of the Inspector General
            Sample Size Determination Guidelines
  Mr. Alexander stated that his analysis complied with a rule put forth by the U.S. Department of
  Health and Human Services OIG. As noted above, he wrote that “The OIG recommended a 90
  percent confidence level and 25 percent precision level.”14
  As discussed in the prior Section, it is vital to use the Standard Deviation / Margin of Error /
  Precision from the Potential Overpayments data series and NOT the “IA Over/Under
  Reimbursements” when determining sample sizes.
  For example, the U.S. Department of Health and Human Services OIG put forth guidelines,
  which Mr. Alexander allegedly utilized, to assist in determining whether the Department
  overpaid medical providers. Therefore, like what was described in the prior Subsection, the OIG
  must account for two data series: the amount paid to medical providers and the overpayment to
  these providers. While the amount paid to medical providers can be determined from claims
  data, individual claim file review is required to determine the overpayments.
  In describing the Corporate Integrity Agreement (“CIA”) procedures to determine the required
  sample size of claim files that have to be reviewed, the OIG emphasizes that Probe information
  about the overpayments, not the total amounts paid to medical care providers, should be inputted
  into RAT-STATS. In particular, the OIG states:
                Some CIAs include claims review procedures that require a [Probe] sample of
                50 paid claims to be randomly selected for review15….
                How is RAT-STATS used to determine the Full Sample size?
                Once the mean and standard deviation of the overpayment amount in the
                [Probe] sample have been calculated, the full sample size can be determined16….
                The full sample must include a sufficient number of paid claims to yield results
                that estimate the overpayment in the population within a 90 percent confidence
                and 25 percent precision level.17
  However, Mr. Alexander did NOT input data relative to the Potential Overpayments, instead he
  inputted the data relative to “IA Over/Under Reimbursements.” Consequently, he did not
  comply with OIG guidelines. By not fulling quoting the OIG and only citing to the last 9 words
  in the above quote and not the prior 6 words, Mr. Alexander misinforms readers of his Report of
  the OIG’s true guidelines.

                                                              
  14
     Alexander July 18th Report, p. 5.
  15
      https://oig.hhs.gov/faqs/corporate-integrity-agreements-faq.asp, “Background” section. (emphasis added) The
  OIG uses the synonymous term discovery sample instead of probe sample in the text.
  16
     Ibid., “How is RAT-STATS used to determine the Full Sample size?” section (emphasis added)
  17
     Ibid., “Background” section (emphasis added)


                                                                 13
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 13 of 60 PageID #:
                                    18874
  Additionally, despite Mr. Alexander’s recognition of the need to obviate the “circular logic”
  wrinkle, he did not do so. Mr. Alexander did NOT conduct a Probe sample as required by the
  OIG.     He inputted his alleged entire Sampling Frame of 8,812 customer months.18
  Consequently, his analysis further departs from OIG guidelines.
  If one assumes that Mr. Alexander’s results from the 133 customer months he reviewed from a
  Probe Sample and that overpayment data related to these customer months are entered into RAT-
  STATS, the computer program states that the required sample size using Mr. Alexander’s
  parameters is 305. Consequently, by only testing 133 customer months, Mr. Alexander tested
  less than half of the OIG required sample size (44% = 133 / 305). Furthermore, as discussed
  below in Section X, only 39 of the customer months Mr. Alexander tested are relevant to Mr.
  Hazelwood, creating an effective understatement of 87% (13% = 39 / 305).
  Even if it were proper for Mr. Alexander to input the full reimbursement amounts, and not
  overpayment amounts, into RAT-STATS, he does so improperly. The file that he sent along
  with his August 20th Report shows that he inputted reimbursement amounts based upon
  Attributed Losses into RAT-STATS for his sample size determination. However, his July 18th
  Report shows that he performed calculations on reimbursement amounts based upon “IA
  Over/Under Reimbursements.” As Attributed Losses, the universe / target population, differ
  from “IA Over/Under Reimbursements,” the Sampling Frame, Mr. Alexander’s sample size
  analysis mixes apples and oranges and is statistically incorrect even if it were relevant.

         C. Mr. Alexander’s Sample Size Rule Might Not Be Applicable
  As discussed in the prior Subsection, Mr. Alexander cited to a rule put forth by the U.S.
  Department of Health and Human Services OIG to calculate sample sizes in order to determine
  whether health care providers accurately submitted bills to the Centers for Medicare and
  Medicaid Services.
  Mr. Alexander provided no support as to why this rule that is relevant to medical charges to the
  Federal government is relevant to the fuel billing between private entities at issue in this case.
  He further did not explain why statistical rules of other governmental agencies should not be
  applied or why one should not follow the rule Judge Posner recommended: “on the basis of the
  evidence of a trained statistician.”19
  For example, while the U.S. Department of Health and Human Services OIG has one rule about
  improper payments that are specific to health care payments, the U.S. Office of Management and
  Budget (“OMB”) provides broader guidance on improper payments in its Appendix C to Circular
  No. A-123, Requirements for Effective Estimation and Remediation of Improper Payments.20 In
  this Appendix, the OMB defines improper payments to be:
                An improper payment is any payment that should not have been made or that was
                made in an incorrect amount under statutory, contractual, administrative, or other

                                                              
  18
     Alexander August 20th Report, p. 2.
  19
     Kadas v. MCI Systemhouse Corp., 255 F.3d 359 (7th Cir. 2001)
  20
     https://paymentaccuracy.gov/pdf/m-15-02.pdf.


                                                                 14
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 14 of 60 PageID #:
                                    18875
                legally applicable requirements. Incorrect amounts are overpayments or
                underpayments that are made to eligible recipients (including inappropriate
                denials of payment or service, any payment that does not account for credit for
                applicable discounts [Footnote: Applicable discounts are only those discounts
                where it is both advantageous and within the agency's control to claim them.],
                payments that are for an incorrect amount, and duplicate payments). An improper
                payment also includes any payment that was made to an ineligible recipient or for
                an ineligible good or service, or payments for goods or services not received
                (except for such payments authorized by law). In addition, when an agency's
                review is unable to discern whether a payment was proper as a result of
                insufficient or lack of documentation, this payment must also be considered an
                improper payment.21
  This Appendix presents a different sample selection rule than the OIG. In particular,
                Agencies should design the sample and select a sample size sufficient to yield an
                estimate of improper payments with a 90 percent confidence interval of plus or
                minus 2.5 percent of the total amount of all payments for a program around the
                estimate of the dollars of improper payments. [Footnote: Agencies may
                alternatively use a 95 percent confidence interval of plus or minus 3 percent
                around the estimate of the dollar amount of improper payments.] For example, if
                the total amount of all payments for a program was $1,000,000,000 and the
                estimated total of improper payments based upon the statistical sample was
                $80,000,000, the 90 percent confidence interval around the estimate should be no
                more than plus or minus $25,000,000-i.e., $55,000,000 to $105,000,000. These
                guidelines for precision shall be taken as the minimum, and agencies are
                encouraged to increase samples above the minimum to achieve greater precision
                in their estimates in order for agencies to better understand underlying causes of
                improper payments and creating action plans. Agencies shall maintain
                documentation to support the calculation of these estimates.22
  Additionally, the Internal Revenue Service utilizes a different rule to calculate a wide variety of
  financial statistics for companies in all industries. I have personally utilized the IRS rule to
  calculate corporate revenue and cost components as well as how actual revenue and cost
  components differ from what was recorded by firms’ accounting departments. The IRS rule is
  based on a 95% Confidence Level and Precision numbers much lower than the one Mr.
  Alexander applied (i.e., the IRS requires analyses to be more precise).23
  As each of these guidelines utilized different confidence levels and precisions, different sample
  sizes will result from the standard statistical formula used by Mr. Alexander. Also, the
  guidelines require the sampler to verify that their conclusions conform to the relevant statistical
  parameters; however, Mr. Alexander failed to do this in his analysis.

                                                              
  21
     Ibid., p. 7.
  22
     Ibid., p. 14. 
  23
     Internal Revenue Service, Revenue Procedure 2011-42.


                                                                 15
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 15 of 60 PageID #:
                                    18876
VIII. Mr. Alexander’s Analysis Shows That Pilot Flying J’s
      Internal Audit Department’s Analysis as well as Pilot
      Flying J’s Attributed Losses Are Unreliable
  Mr. Alexander’s analysis shows how deeply flawed Pilot Flying J’s Internal Audit department’s
  analysis was. Disregarding the aforementioned errors in Mr. Alexander’s analysis, applying the
  standard Attribute Sampling formula to Exhibit C of Mr. Alexander’s July 18th Report even
  shows that he believes that 74% ± 8% of the “IA Over/Under Reimbursements” were
  erroneously calculated.24 Additionally, all of the results from Mr. Alexander’s SVRS analysis
  differ from the Attributed Losses Pilot Flying J found. Therefore, this statistical illustration
  using Mr. Alexander’s own data shows how often Pilot Flying J and its Internal Audit
  department made errors in their analyses.



 IX. Mr. Alexander Utilized An Improper Metric in his
     Analysis
  In Exhibit C to his July 18, 2018 Report, Mr. Alexander displayed the “IA Over/Under
  Reimbursements” that Pilot Flying J’s Internal Audit department calculated for each of the 133
  customer months he included in his sample. He then displayed the “SVRS Over/Under
  Reimbursements” that he calculated along with the resulting Potential Overpayments for these
  133 customer months.
  As stated in Section III above, I have no independent opinions about the validity or accuracy of
  the Attributed Losses, “IA Over/Under Reimbursements,” the “SVRS Over/Under
  Reimbursements” or the Potential Overpayments for each customer month. For the purposes of
  most of my Expert Report, I assume these figures are valid and accurate in an accounting sense
  for each customer month. To the extent that they are invalid and/or inaccurate in an accounting
  sense, Mr. Alexander’s analysis is further compromised. Section XI below includes some of Mr.
  Kruse’s critiques of Mr. Alexander’s work calculating reimbursements in a statistical analysis.
  Mr. Alexander summed the “IA Over/Under Reimbursements,” the “SVRS Over/Under
  Reimbursements” and the Potential Overpayments for all allegedly relevant 133 customer
  months. He then divided the sum total of the Potential Overpayments by the “IA Over/Under
  Reimbursements” to calculate his Reduction Percentage. The Government multiplied this
  Reduction Percentage metric (which is based on “IA Over/Under Reimbursements) by Attributed
  Losses in its August 1, 2018 Notice of No Objection to the Presentence Investigation Report For
  Defendant Hazelwood submission to calculate the alleged Loss related to Mr. Hazelwood.



                                                              
  24
    Mr. Alexander determined that “IA Over/Under Reimbursements” differed from the “SVRS Over/Under
  Reimbursements” he calculated for 98 of the 133 customer months he sampled.


                                                                 16
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 16 of 60 PageID #:
                                    18877
  Essentially, Mr. Alexander utilized the Ratio Method of estimating his Over/Under
  Reimbursements, where the Reduction Percentage is the ratio.25 The Ratio Method is sometimes
  called the (combined) Ratio Method.26 In Mr. Alexander’s analysis, his belief about what the
  Potential Overpayments were (the numerator in his ratio) is called the “primary variable of
  interest,” while the “IA Over/Under Reimbursements” (the denominator in his ratio) is called the
  “paired variable.”
  It is well known in statistics that “ratio estimators are usually biased.”27 However, the bias is
  negligible if the reported values of the units are of the same sign (e.g., positive or negative).28
  Furthermore, the Internal Revenue Service wrote:
                For either the (combined) Ratio or Regression methods (as described in section
                4.02(2)(c)), in order to demonstrate that little statistical bias exists, the following
                applies …. (iii) the coefficient of variation of the paired variable must be 15% or
                less; (iv) the coefficient of variation of the primary variable of interest,
                represented by either the corrected value or the difference between the reported
                and corrected values in common accounting situations, must be 15% or less; and
                (v) for only the (combined) Ratio method, the reported values of the units must be
                of the same sign.29
  However, none of these three conditions apply. As shown in Exhibit 3, the coefficients of
  variation both exceed 15%, violating Rules (iii) and (iv) above. Exhibit 3 also shows that some
  of the “IA Over/Under Reimbursements” are positive while others are negative, violating Rule
  (v) above. For example, while most of the “IA Over/Under Reimbursements” are positive, the
  “IA Over/Under Reimbursement” for the sample relating to Warrant Transport is negative.
  Because of the Ratio Estimator is biased given the data that Mr. Alexander reported, Mr.
  Alexander’s estimation methodology is not statistically valid.
  Additionally, Mr. Alexander only provided the point estimate of his Reduction Percentage. As
  discussed above in Section VII.A., there is generally a Margin of Error around any statistical
  calculation. Without discussing the Margin of Error in his estimate, Mr. Alexander is unable to
  verify if his calculations conform to the statistical Precision parameters that he intended.
  Utilizing standard formulas30 and assuming there are 2,309 observations,31 the statistical
  Precision resulting from Mr. Alexander’s Ratio Estimator is approximately 39%.32 Given the

                                                              
  25
     See, for example, Lohr, Sharon L. Sampling: Design and Analysis Second Edition, 2010, (“Lohr”) p. 118.
  26
     The word combined is used if the Sampling Frame is stratified, which it was not in this case.
  27
     Lohr, p. 122.
  28
      Schaeffer, Richard L., William Mendenhall, III, R. Lyman Ott and Kenneth G. Gerow Elementary Survey
  Sampling Seventh Edition, 2012, (“Schaeffer”) p. 195.
  29
     Internal Revenue Service, Revenue Procedure 2011-42, Section 4.03.(3).
  30
     Schaeffer, p. 175-176.
  31
     The Kraft CPAS SVRS data file 8-20-18.xlsx (02072529x9DAC1).xlsx file attached to Mr. Alexander’s August
  20th Report shows there to be 2,309 observations for the 78 customers listed in the Government’s August 1, 2018
  Notice of No Objection to the Presentence Investigation Report For Defendant Hazelwood submission related to the
  individuals in the Government’s submission.


                                                                 17
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 17 of 60 PageID #:
                                    18878
  sparsity and inconsistency of the underlying data as well as the general invalidity of Mr.
  Alexander’s analysis, the resulting Margin of Error could be even higher.
  This large Precision figure by itself could cause one to reject Mr. Alexander’s analysis. As
  discussed above, the OIG, the entity whose guidelines Mr. Alexander allegedly followed,
  requires at most a “25 percent precision level.”33 This Precision figure also would be rejected by
  OMB guidance.
  Additionally, Courts have rejected surveys with such a large Precision / Margin of Error. While
  Federal Courts have generated similar conclusions,34 I found that the California Supreme Court
  best described issues relating to this topic in Duran v. US Bank, a matter where statistical
  sampling was used to estimate weekly overtime hours. In that matter, the California Supreme
  Court found that the Plaintiff’s survey revealed:
                [The Plaintiffs’ estimate of the Plaintiffs’ average weekly overtime was 11.86
                hours with] a margin of error of 5.14 hours, or 43.3 percent…. This means that
                the actual average overtime worked by class members could have been 43.3
                percent higher (17.00) or lower (6.72) than the 11.86–hour estimate….
                With input from the parties’ experts, the court must determine that a chosen
                sample size is statistically appropriate and capable of producing valid results
                within a reasonable margin of error….
                The wide range of error means that a judgment based on the estimate could reflect
                an amount nearly double the true extent of USB’s liability. As even plaintiffs
                acknowledge, this margin of error was intolerably high….
                We question whether such ancillary indicia of reliability could ever be sufficient
                to justify reliance on an estimate with a margin of error approaching 50 percent.35



                                                                                                                                                                                                  
  32
     Standard statistical formulas show that the Standard Error is $112,763. Then using the z-statistic of 1.645 implies
  a Margin of Error of $185,479. 39% = $185,479 / $478,142. 
  33
     Alexander July 18th Report, p. 5.
  34
     For example, in excluding the plaintiffs’ expert, the Court in United States ex rel. Loughren v. UnumProvident
  Corp., 604 F. Supp. 2d 259, 269. (D. Mass 2009) wrote that

          the Court is troubled by the size of the confidence interval, ± 5,868.3 claims, in Mercurio's final
          calculation of 8,027 false claims, with 95% confidence. ± 5,868.3 claims is an extremely wide
          confidence interval…. Viewed in this manner, Mercurio's result amounts only to a conclusion that
          somewhere between 2,158.7 and 13,895.3 false claims were filed, with 95% confidence. As
          the Reference Manual on Scientific Evidence states, "a broad interval signals that random error is
          substantial"; "the standard error measures the likely size of the random error . . . . If the standard
          error is large, the estimate may be seriously wrong." David H. Kaye & David A.
          Freedman, Reference Guide on Statistics, in Reference Manual on Scientific Evidence 83, 119 n.
          120, 118 (Fed. Judicial Ctr. 2d ed. 2000). This leaves the Court's confidence in the reliability of
          Mercurio's result shaken.
  35
     Duran v. U.S. Bank Nat’l Assoc., 325 P.3d 916, 937-38 (Cal. 2014) (emphasis added)


                                                                                               18
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 18 of 60 PageID #:
                                    18879
  Given OIG and OMB guidance and that Duran found a 43% Precision / Margin of Error to be
  too large, the Finder of Fact could conclude that the 39% Precision / Margin of Error implied by
  Mr. Alexander’s analysis is too large and exclude his analysis.
  Even if the Reduction Percentage from Mr. Alexander’s analysis that improperly utilized the
  Ratio Estimator and had a high Precision / Margin of Error were valid, the Government
  improperly applied the Reduction Percentage. As discussed above, the Reduction Percentage
  equals the Potential Overpayments divided by the “IA Over/Under Reimbursements.” However,
  in its August 1, 2018 Notice of No Objection to the Presentence Investigation Report For
  Defendant Hazelwood submission, the Government applies this Reduction Percentage to
  Attributed Losses. As Attributed Losses, the universe / target population, differ from “IA
  Over/Under Reimbursements,” the Sampling Frame, the Government’s analysis mixes apples
  and oranges and is statistically incorrect even if it were relevant.



      X.          Assuming His Reimbursement Calculations Are
                  Accurate, Mr. Alexander’s Analysis Does Not Meet
                  Statistical Requirements and if Accepted, Overstates
                  the Losses Allegedly Due to Mr. Hazelwood
  As discussed above, Mr. Alexander included customers unrelated to Mr. Hazelwood in his
  universe / target population, Sampling Frame and Sample. In fact, as per the Government's
  August 1, 2018 Notice of No Objection to the Presentence Investigation Report For Defendant
  Hazelwood, only 39 of the 133 customer months Mr. Alexander sampled relate to Mr.
  Hazelwood. These 39 items are displayed in Exhibit 4. Comparing Exhibits 3 and 4 shows that
  by including non-Hazelwood related items in his sample, Mr. Alexander’s analysis understates
  the average reimbursement size measured by “IA Over/Under Reimbursements” ($4,120 vs.
  $5,693 per customer month) and the amount by which “IA Over/Under Reimbursements” are
  overstated using Mr. Alexander’s method of comparing “IA Over/Under Reimbursements” to
  “SVRS Over/Under Reimbursements” ($181 vs. $236 per customer month). Exhibit 4 also
  shows that the average reimbursement using Attributed Losses differs from the “IA Over/Under
  Reimbursements.”
  In addition to limiting the Sampling Frame and Sample to customer months allegedly relevant to
  Mr. Hazelwood, I utilize Attributed Losses not “IA Over/Under Reimbursements” in my analysis
  as the universe / target population relates to the former.
  I then follow the IRS’ methodology for extrapolating from a sample, codified in its Revenue
  Procedure 2011-42,36 utilizing Attributed Losses and the amount by which Attributed Losses
  were overstated based on Mr. Alexander’s SVRS reimbursement calculations. The IRS only
  accepts four different estimators / metrics to perform such an extrapolation.37 However, for

                                                              
  36
       The OIG and OMB do not specify extrapolation techniques.
  37
       Internal Revenue Service, Revenue Procedure 2011-42, Section 4.02.(2)(c).


                                                                 19
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 19 of 60 PageID #:
                                    18880
  similar reasons to what was described in the prior Section, its methodology considers the Ratio
  and Regression Estimators to be biased in this situation.
  Exhibit 5 displays the point estimate of the amount Attributed Losses are overstated for the IRS-
  specified Mean Estimator. I utilize the Mean Estimator as the IRS requires one to utilize the
  estimator with the smallest standard error.38
  Exhibit 5 also shows that the point estimate of the Mean Estimator has a high Margin of Error /
  Precision. The Internal Revenue Service in its Revenue Procedure 2011-42 provides a procedure
  to handle surveys with large Margins of Error.39 In this Revenue Procedure, the surveyor is able
  to utilize the Point Estimate if the Precision is less than 10%. If the Precision is greater than
  15%, the least advantageous 95% one-sided confidence limit is used. If the Precision is between
  10% and 15%, a sliding scale between the Point Estimate and the least advantageous 95% one-
  sided confidence limit is used.
  It is advantageous for the Government, the party that is putting forth the sampling analysis, to
  have a low overstatement of the Attributed Losses as that increases the relevant Losses and
  increases Mr. Hazelwood’s potential sentence. Consequently, the least advantageous 95% one-
  sided confidence limit would be the number such that one would be 95% confident that the true
  Attributed Losses overstatement is less than this number.
  Exhibit 5 demonstrates that the 95% one-sided confidence limit of the amount Attributed Losses
  implied by Mr. Alexander’s data is overstated by $959,364.
  As the Precision implied by Mr. Alexander’s data exceeds 15%, I conclude that Attributed
  Losses are overstated by $959,364 assuming there is any validity to Mr. Alexander’s statistical
  analysis.
  While the calculations in this Section are the proper method of utilizing Mr. Alexander’s sample
  data, the results might still not be sufficiently precise to be acceptable. These results could be
  excluded per the logic of the OIG and OMB as the corrected calculations imply a Precision of
  over 75%. The OIG, the entity whose guidelines Mr. Alexander allegedly followed, requires at
  most a “25 percent precision level.”40
  Additionally, the resulting margin of error using a 90% confidence interval is 2.95% of the total
  amount of all allegedly relevant payments the Government stated in its August 1, 2018 Notice of
  No Objection to the Presentence Investigation Report For Defendant Hazelwood submission of
  $10,883,627. The margin of error is 3.82% using a 95% confidence interval. However, these
  margins of error do not meet the standards required by the U.S. Office of Management and
  Budget as discussed in Section VII.B. above.



                                                              
  38
     Ibid. I separately calculated amounts using the IRS-specified Difference Estimator. In this case, the Standard
  Error for the Mean Estimator is $223,047, while the Standard Error for the Difference Estimator is $3,565,029.
  Because the Standard Error of the latter exceeds the former, I utilize the Mean Estimator in my calculations.
  39
     Internal Revenue Service, Revenue Procedure 2011-42, Section 4.02.(2)(c).
  40
     Alexander July 18th Report, p. 5.


                                                                 20
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 20 of 60 PageID #:
                                    18881
  Consequently, the incomplete nature of Mr. Alexander’s sampling data could cause even these
  corrected calculations to be rejected by the OIG and the Federal government’s Office of
  Management and Budget.41
  However, if the Finder of Fact accepts these corrected calculations, they demonstrate that the
  Government and Mr. Alexander overstated the losses allegedly due to Mr. Hazelwood. The
  Government’s August 1, 2018 Notice of No Objection to the Presentence Investigation Report
  For Defendant Hazelwood submission claims that there were $10,883,627 in Losses before
  applying the Reduction Percentage. Assuming this number is valid, of which I have no
  independent opinion, and given the aforementioned caveats, the true loss relevant to Mr.
  Hazelwood is at most $9,924,263.


 XI. Correcting     for   Some     of   Mr.    Alexander’s
     Reimbursement Calculation Errors Demonstrates the
     Sensitivity of His Methodology to Small Changes in the
     Reimbursement Amounts
  As discussed above, statistical conclusions generated from Mr. Alexander’s sampling
  methodology are not precise. Slight changes in data underlying an imprecise model often can
  cause significant changes in the model’s results. Mr. Alexander’s imprecise sampling model is
  no exception.

  In the Kruse Report, Mr. Philip Kruse critiqued Mr. Alexander’s conclusions about what
  reimbursements should have been. It is my understanding that he concluded that Attributed
  Losses, “IA Over/Under Reimbursements,” and “SVRS Over/Under Reimbursements” were
  significantly overstated. Mr. Kruse concluded that there should have been no reimbursements
  for certain customers. In other words, the Attributed Losses, “IA Over/Under Reimbursements,”
  and “SVRS Over/Under Reimbursements” for those customers were overstated by 100%. For
  other customers, Mr. Kruse determined that there should have been some reimbursements, but
  those reimbursements would only be a fraction of the Attributed Losses, “IA Over/Under
  Reimbursements,” and “SVRS Over/Under Reimbursements.”

  In particular, I understand that Mr. Kruse concluded that Pilot Flying J and Mr. Alexander
  overstated what the reimbursements should have been for several customers including, but not
  limited to:

         1.     B P Express
         2.     Bison Transport
         3.     B-T Inc (Part of Decker)
         4.     CDN Logistics Inc.
         5.     Decker
         6.     Equity Transportation
                                                              
  41
       These conclusions would also be rejected under Duran, which rejected a study with a 43.3% Precision.


                                                                 21
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 21 of 60 PageID #:
                                    18882
      7. Midwest Logistics Systems
      8. Sharkey/Sysco/Shipper’s Rental

  However, Mr. Kruse was unable to quantify with specificity the amount of Pilot Flying J and Mr.
  Alexander’s overstatements for these customers.

  Therefore, to assist the Finder of Fact, I calculated what the True Loss Allegedly Relevant to Mr.
  Hazelwood would be for various simulations to demonstrate the fragility of Mr. Alexander’s
  sampling methodology. I ran simulations conservatively assuming that Attributed Losses for the
  months in Mr. Alexander’s sample that allegedly relate to Mr. Hazelwood for the
  aforementioned eight customers were overstated by 10%, 20% and 30%. These simulations do
  not alter the Attributed Losses for the other twenty-three customers that are in Mr. Alexander’s
  sample that allegedly relate to Mr. Hazelwood. I understand that these assumptions relating to
  the overstated amounts for just these eight customers are conservative given the sizable, but
  unquantifiable reimbursement overstatements that Mr. Kruse found. However, as demonstrated
  below, even these small changes have a large effect on what conclusions could be drawn
  regarding the True Loss Allegedly Relevant to Mr. Hazelwood.

  I commence these simulation analyses in Exhibit 6 where I assume that the Attributed Losses for
  the eight aforementioned customers were overstated by 10%. Exhibit 8 and Exhibit 10 assume
  that the Attributed Losses for these eight customers were overstated by 20% and 30%,
  respectively.

  Exhibit 7 displays the calculations necessary to determine the amount Attributed Losses are
  overstated if the Attributed Losses for the eight aforementioned customers were overstated by
  10%. Exhibit 9 and Exhibit 11 display the corresponding calculations if the Attributed Losses
  for these eight customers were overstated by 20% and 30%, respectively.
  Because the Precision is greater than 15% in all three scenarios, I utilize the Least Advantageous
  95% One-Sided Confidence Limit of the Overstatement to generate the amount by which Total
  Attributed Losses were overstated. The Table below summarize the results of these scenarios

                         Simulated        Amount By Which          Simulated
                        Percentage         Total Attributed       Revised Loss
                     Attributed Losses      Losses Were             Allegedly
                   Were Overstated for      Overstated in        Relevant to Mr.
                   the Eight Customers       Simulation            Hazelwood
                           10%               $1,866,932            $9,016,695
                           20%               3,402,523             7,481,104
                           30%               4,958,469             5,925,158


  The Table above demonstrates the sensitivity of the True Loss Allegedly Relevant to Mr.
  Hazelwood calculation. Each 10% change in the Attributed Losses for just eight customers
  causes approximately a $1.5 – 1.9 million change in the True Loss Allegedly Relevant to Mr.
  Hazelwood.



                                                 22
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 22 of 60 PageID #:
                                    18883
  Consequently, small changes in the proper reimbursement amounts have a large effect on the
  True Loss Allegedly Relevant to Mr. Hazelwood. Given this sensitivity inherent in Mr.
  Alexander’s imprecise sampling methodology, great care should be employed to ensure the
  accuracy of the reimbursement amounts inputted into the sampling model.



XII. Conclusion
  The Government and Mr. Alexander made multiple mathematical and methodological errors that
  fatally flaw his sampling analysis. As detailed in this Expert Report,

         The Sampling Frame he defined in his July 18th and August 20th Reports overstated the
          target population / universe that he defined in his July 18th Report as well as the target
          population / universe the Government defined in August 1, 2018 Notice of No Objection
          to the Presentence Investigation Report For Defendant Hazelwood.
         Mr. Alexander’s statistical formula are based on the wrong data. His analysis relates to
          “IA Over/Under Reimbursements” and not Attributed Losses.
         The Government blindly applied conclusions generated from one data series to another
          data series.
         Mr. Alexander misquoted and misapplied the statistical rules of the U.S. Department of
          Health and Human Service’s Office of Inspector General. Not only did he utilize the
          wrong data, but he did not perform a Probe sample, which caused him to statistically mix
          apples and oranges. If correctly applied, these rules imply that Mr. Alexander
          understated the required sample size by 56%. Instead of testing the 133 customer months
          he did, statistical formula suggest that he should have tested at least 305 customer
          months. Additionally, because only 39 of his customer months relate to Mr. Hazelwood,
          Mr. Alexander effectively understated the sample size by 87%. Because of his
          insufficient sample, Mr. Alexander’s conclusions are considerably imprecise.
         Even if he correctly applied them, Mr. Alexander did not demonstrate that the statistical
          rules of the U.S. Department of Health and Human Service’s Office of Inspector General
          are more applicable than other governmental rules.
         Mr. Alexander utilized a Ratio Estimator, even though it is known to be statistically
          biased in situations like this.
         Mr. Alexander did not provide any Precision statistics in his Reports that would allow the
          reader to identify the imprecision of his analysis.

  As discussed in the introduction, my Expert Report only evaluated Mr. Alexander’s statistical
  sampling analysis. Given the multitude of errors I detailed in that analysis, one might question
  the validity of other parts of Mr. Alexander’s analysis.



  September 12¸ 2018                                          ___________________________

                                                              Benjamin S. Wilner, Ph.D.


                                                  23
   
Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 23 of 60 PageID #:
                                    18884
                                                                                       Exhibit 1


                                     Documents Considered


  Plaintiff’s Statistical Analysis
     1. Letter by Vic Alexander, CPA, ABV, CFF and KraftCPAs PLLC to Aubrey B. Harwell,
        Jr. dated July 18, 2018.
     2. Letter by Vic Alexander, CPA, ABV, CFF and KraftCPAs PLLC to Aubrey B. Harwell,
        Jr. dated August 20, 2018.
     3. Loss Attribution Spreadsheet (Data file.xlsx).
  Legal Filings
     4. Government’s Notice of No Objection to the Presentence Investigation Report For
        Defendant Hazelwood dated August 1, 2018.
  Court Cases
     5. Duran v. U.S. Bank Nat’l Assoc., 325 P.3d 916, 937-38 (Cal. 2014).
     6. Kadas v. MCI Systemhouse Corp., 255 F.3d 359 (7th Cir. 2001).
     7. United States ex rel. Loughren v. UnumProvident Corp., 604 F. Supp. 2d 259, 269. (D.
        Mass 2009)
  Literary Sources
     8. American Institute of Certified Public Accountants Audit Sampling, Section 2.24.
     9. Centers for Medicare and Medicaid Services’ Medicare Program Integrity Manual.
     10. Deming, W. Edwards Sample Design in Business Research, John Wiley, 1960.
     11. Diamond, Shari Seidman. “Reference Guide on Survey Research,” in Reference Manual
         on Scientific Evidence, Third Edition, 2011, Federal Judicial Center (“Reference Guide
         on Survey Research”).
     12. Internal Revenue Service, Revenue Procedure 2011-42.
     13. Kaye, David H. and David A. Freedman. “Reference Guide on Statistics,” in Reference
         Manual on Scientific Evidence Third Edition, Federal Judicial Center, 2011 (“Reference
         Guide on Statistics”).
     14. Lohr, Sharon L. Sampling: Design and Analysis Second Edition, 2010.
     15. Schaeffer, Richard L., William Mendenhall, III, R. Lyman Ott and Kenneth G. Gerow
         Elementary Survey Sampling Seventh Edition, 2012.
  Online Sources
     16. https://oig.hhs.gov/faqs/corporate-integrity-agreements-faq.asp.
     17. https://paymentaccuracy.gov/pdf/m-15-02.pdf.




Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 24 of 60 PageID #:
                                    18885
   

   

   

   

   

   

   

   

   

   

   

   




                                 EXHIBIT 2




Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 25 of 60 PageID #:
                                    18886
                            Benjamin S. Wilner, Ph.D.
                            Managing Director – Disputes and Investigations
                            bwilner@alvarezandmarsal.com

540 West Madison St.        Dr. Benjamin Wilner has more than twenty years of advisory, valuation, and
Suite 1800
Chicago, IL 60661
                            general economic & financial services experience as a consultant, academic
Tel: (312) 470-8450         & testifier. He is a Ph.D. economist and statistician who regularly serves as a
                            consultant and testifying expert witness on financial damages, economic &
Education                   statistical issues.
Kellogg Graduate School
of Management,
Northwestern University     Dr. Wilner’s disputes experience encompasses many industries and a broad
Ph.D.                       range of single plaintiff, class action and criminal disputes including antitrust
Managerial Economics        liability & damages, business interruption, business valuations, economic
and Decision Science
                            analyses, intellectual property, labor, lost income, product liability, statistical
University of               data analyses, and other corporate and litigation related matters.
Pennsylvania
BA magna cum laude          In his consulting practice, Dr. Wilner advises corporations and governments
with distinction in major
Economics &
                            on economic and statistical issues. For example, in addition to redesigning
Mathematics                 statistical aspects of an automobile manufacturer’s warranty process, Dr.
                            Wilner received a special commendation from the Commissioner of US
London School of            Customs & Border Protection for building an economic model to restructure a
Economics
General Course Degree
                            $2.5 billion tariff, which has won praise by a Cabinet member, Congressional
Mathematics & Statistics    officials, and the industry.

                            Prior to joining Alvarez & Marsal, Dr. Wilner worked at other multinational
                            consulting firms. He also has been a professor in the business schools at the
                            University of Michigan, University of Iowa, Northwestern University, and the
                            Helsinki School of Economics. Dr. Wilner was a research assistant for a
                            Nobel Prize–winning economist and studied under two other Nobel Laureates.
                            His work has been published in leading academic journals and textbooks as
                            well as regularly cited in the academic and popular press. Dr. Wilner won
                            several awards for teaching and research including a grant from the National
                            Science Foundation.




      Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 26 of 60 PageID #:
                                          18887
                                                                 Benjamin S. Wilner, Ph.D.
                                                                                   Page 2

            Testimony before a Trier of Fact
             Arbitration Testimony in Topix Media Lab, LLC, v. Athlon Sports
               Communications, Inc., American Arbitration Association, November 2017
             Trial Testimony in Syngenta Crop Protection, LLC v. Willowood, LLC,
               Willowood USA, LLC, Willowood Azoxystrobin, LLC, and Willowood
               Limited, United States District Court, Middle District of North Carolina,
               September 2017
             Trial Testimony in Christine Ekalliipse Mouloki v. Marie Paule Epee and
               Eric Ngado Epee, United States District Court, Northern District of Illinois,
               Eastern Division, July 2017
             Trial Testimony in The People of the State of Illinois v. Ronald A. Pieri,
               State of Illinois, Circuit Court of Lake County, October 2015
             Trial Testimony in Sleepy’s LLC, v. Select Comfort Wholesale
               Corporation, et al., United States District Court, Eastern District of New
               York, May – June 2012 & July 2015
             Trial Testimony in Grater, Inc., and James T. Zavacki v. Kevin T. Keating
               and Keating & Shure, Ltd., State of Illinois, Circuit Court of Cook County,
               March 2015
             Trial Testimony in Think Tank Software Development Corporation et al. v.
               Chester Inc., et al., State of Indiana, County of Porter, March 2014
             Trial Testimony in Sharon P. Clark, Commissioner of the Kentucky
               Department of Insurance, in her Capacity as Rehabilitator of AIK Comp v.
               TransAmerica Insurance Company and TIG Insurance Company,
               Commonwealth of Kentucky, Franklin Circuit Court, Division Two, October
               2012
             Trial Testimony in Mario Vara v. Integra Properties, Inc., Abe Polatsek,
               S&M Corporation and Michael Strick, State of Illinois, Circuit Court of
               Cook County, July 2011
             Trial Testimony in Indeck Power Equipment Company v. Professional
               Power Products, et al., State of Illinois, Circuit Court of Cook County, April
               2010
             Trial Testimony in Saint-Gobain Autover USA, Inc., et al. v. Xinyi Glass
               North America, Inc., et al., United States District Court, Northern District of
               Ohio, Eastern Division, November 2009
             Trial Testimony in NSM Music Group, Ltd. and NSM Music, Inc. v.
               Synergy Law Group and Arthur E. Mertes, State of Illinois, Circuit Court of
               Cook County, June 2009




Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 27 of 60 PageID #:
                                    18888
                                                                Benjamin S. Wilner, Ph.D.
                                                                                  Page 3

                Arbitration Testimony in Global Link Logistics, Inc., GLL Holdings, Inc.,
                 and Golden Gate Logistics, Inc., v. Olympus Growth Fund III, L.P., et al.,
                 American Arbitration Association, October 2008
                Arbitration Testimony in Sarah Sanford v. Society of Actuaries & Bruce
                 Schobel, American Arbitration Association, August 2008
                Hearing Testimony in Chinitz v. Chinitz, State of Michigan, Circuit Court
                 for the County of Oakland, May 2008
                Arbitration Testimony in BP Products North America, Inc. v. Laidlaw
                 Educational Services, JAMS Arbitration, October 2007


            Deposition Testimony
             Teresa Elward, et al. v. Electrolux Home Products, Inc., United States
               District Court, Northern District of Illinois, Eastern Division, August 2018
             Roger Coffelt, Jr., et al. v. The Kroger Co., The Pictsweet Company and
               CRF Frozen Foods LLC., et al., United States District Court, Central
               District of California, Riverside Division, May 2018
             Rick Lindsey v. Officer Michael Orlando, Officer Jamie Falardeau, the City
               of Chicago, Delta Airlines, Thomas Steinfels, and Marcella Pirvu, United
               States District Court, Northern District of Illinois, Eastern Division, March
               2018
             Syncora Guarantee Inc. v. Alinda Capital Partners, LLC, American Roads
               LLC, Macquarie Securities (USA) Inc., and John S. Laxmi, Supreme Court
               of the State of New York, County of New York, December 2017
             Kelley Antekeier v. Laboratory Corporation of America, United States
               District Court, Eastern District of Virginia, Alexandria Division, November
               2017
             Topix Media Lab, LLC, v. Athlon Sports Communications, Inc., American
               Arbitration Association, October 2017
             Christine Ekalliipse Mouloki v. Marie Paule Epee and Eric Ngado Epee,
               United States District Court, Northern District of Illinois, Eastern Division,
               July 2017
             Syngenta Crop Protection, LLC v. Willowood, LLC, Willowood USA, LLC,
               Willowood Azoxystrobin, LLC, and Willowood Limited, United States
               District Court, Middle District of North Carolina, September 2016
             In re: Hardieplank Fiber Cement Siding Litigation, United States District
               Court, District of Minnesota, February 2016




Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 28 of 60 PageID #:
                                    18889
                                                                 Benjamin S. Wilner, Ph.D.
                                                                                   Page 4

                In re: Atlas Roofing Corporation Chalet Shingle Products Liability
                 Litigation, United States District Court, Northern District of Georgia,
                 December 2015
                Churchill Downs Incorporated v. Illinois Department of Revenue, Brian
                 Hamer, as Director of The Illinois Department of Revenue, and Dan
                 Rutherford as Treasurer of the State of Illinois, State of Illinois, Circuit
                 Court of Cook County, August 2014
                Victor Tracy, Power of Attorney for Anne Tracy and Victor Tracy,
                 Individually v. Robert K. Erickson, M.D., Lake County Neurosurgery, LLC,
                 Advocate Condell Medical Center, State of Illinois, Circuit Court of Cook
                 County, July 2014
                Marylee Arrigo v. Link Stop, Inc., et al., United States District Court,
                 Western District of Wisconsin, October 2013
                Andrew C. Dillon v. Transportation Solutions Group, LLC, Freight
                 Exchange of North America, LLC, 3PLogic, LLC, Transportation Solutions
                 Enterprises, LLC and Todd Berger, United States District Court, Northern
                 District of Illinois, Eastern Division, September 2013
                Grater, Inc., and James T. Zavacki v. Kevin T. Keating and Keating &
                 Shure, Ltd., State of Illinois, Circuit Court of Cook County, September
                 2013
                Think Tank Software Development Corporation et al. v. Chester Inc., et
                 al., State of Indiana, County of Porter, February 2012 & October 2009
                Continental Datalabel, Inc. v. Avery Dennison Corporation, United States
                 District Court, Northern District of Illinois, Eastern Division, December
                 2011
                Ross v. Ross, Circuit Court of the Nineteenth Judicial Circuit, Waukegan,
                 Lake County, Illinois, September 2011
                In re: IKO Roofing Shingle Products Liability Litigation, United States
                 District Court, Central District of Illinois, Urbana Division, August 2011
                Jessica Ellen Legens, et al. v. Mark Alan Ikerman and Manheim Services
                 Corporation, d/b/a Manheim Gateway St. Louis, et al., State of Illinois,
                 Circuit Court of Madison County, November 2010
                Ronald Seymour v. Wausau Signature Agency, et al., United States
                 District Court, Northern District of Illinois, Eastern Division, May 2010
                Neil Simon and Clarissa Simon v. Heritage Title Company, State of Illinois,
                 Circuit Court of Cook County, December 2009
                Mario Vara v. Integra Properties, Inc., Abe Polatsek, S&M Corporation and
                 Michael Strick, State of Illinois, Circuit Court of Cook County, December
                 2009




Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 29 of 60 PageID #:
                                    18890
                                                                Benjamin S. Wilner, Ph.D.
                                                                                  Page 5

                Saint-Gobain Autover USA, Inc., et al. v. Xinyi Glass North America, Inc.,
                 et al., United States District Court, Northern District of Ohio, Eastern
                 Division, October 2009
                Sleepy’s LLC, v. Select Comfort Wholesale Corporation, et al., United
                 States District Court, Eastern District of New York, July 2009
                Indeck Power Equipment Company v. Professional Power Products, et al.,
                 State of Illinois, Circuit Court of Cook County, September 2008
                NSM Music Group, Ltd. and NSM Music, Inc. v. Synergy Law Group and
                 Arthur E. Mertes, State of Illinois, Circuit Court of Cook County, May 2008
                Maria Belbis, et al. v. County of Cook, United States District Court,
                 Northern District of Illinois, Eastern Division, January 2008
                Bucyrus International, Inc. v. Price Erecting Company and Kentucky
                 Rebuild Corp., State of Wisconsin, Circuit Court of Milwaukee County,
                 October 2007
                Mark A. Sindecuse, M.D. v. Dean M. Katsaros, Katsaros & Associates,
                 and CIB Marine Bancshares, Inc., United States District Court, Eastern
                 District of Missouri, Eastern Division, June 2007
                Quentin Bullock et al., v. Michael Sheahan and Cook County, United
                 States District Court, Northern District of Illinois, Eastern Division,
                 September 2006


            Awards
             National Science Foundation Grant, 1998
             Old Gold Research Fellowship, University of Iowa, Summer 1997
             Outstanding Professor, University of Iowa Panhellenic Council, Fall 1996
             Doctoral Teaching Award, Kellogg Graduate School of Management, 1994


            Professional Memberships
             American Bar Association (Associate Status)
             American Statistical Association
             Credit Research Foundation (Research Fellow)




Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 30 of 60 PageID #:
                                    18891
                                                            Benjamin S. Wilner, Ph.D.
                                                                              Page 6

            Publications
             “The U.S. Federal Crop Insurance Program in 2012 and Beyond,” (with
               Frank Schnapp) Trébol, July 2013
             “Profitability & Effectiveness of the Federal Crop Insurance Program,”
               (with Laura Carolan & Frank Schnapp), Crop Insurance Today, 44(2), pp.
               28 – 32, May 2011
             “Economic and Accounting Analyses in Post-Acquisition Disputes,” (with
               Allen Burt and Matthew Paye) The SRR Journal, Spring 2010
             “Statistical Analyses Relation to Reductions In Force,” The SRR Journal,
               Spring 2009
             “Antitrust Analyses in Horizontal Mergers,” (with Thomas R. Jackson) The
               SRR Journal, Fall 2007
             “Options Backdating: The Latest Corporate Imbroglio,” (with Idris Raja)
               The SRR Journal, Spring 2007 (reprinted on mondaq.com)
             “Multi-Unit Auctions: A Comparison of Static and Dynamic Mechanisms”
               (with Alejandro Manelli and Martin Sefton), Journal of Economic Behavior
               and Organization, 61(2), pp. 304 – 323, October 2006
             “The Exploitation of Relationships in Financial Distress: The Case of
               Trade Credit,” Journal of Finance, February 2000
             “Everything you always wanted to know about discounting, but were afraid
               to ask: A Finance 101 Primer,” Credit and Financial Management Review,
               Summer 1999
             “Paying Your Bills: The Effect of Corporate Quality” September 1996
             Refereed for the American Economic Review, American Real Estate
               Society, Journal of Finance, the Journal of Business, Finance and
               Accounting, and John Wiley Publishers




Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 31 of 60 PageID #:
                                    18892
                                             Exhibit 3
                                           Sample Data
                         (From Exhibit C to Mr. Alexander's July 18th Report)
                                                                                                                        Potential 
                                                                                               SVRS                Overpayments 
                                                  IA Reimbursements                 Reimbursements  (According to Mr. 
Customer                                Period         (Over)/Under                    (Over)/Under                    Alexander)
ABC Transportation Company              2010‐10    $                          695   $                         770 $                         ‐
All American Xpress Inc                 2010‐08                         41,287                         41,278                                  8
Altendorf                               2009‐11                               127                            138                               0
Altendorf                               2010‐08                               370                            392                               0
American Furniture Mfg Inc              2011‐04                               262                            262                               0
American Furniture Mfg Inc              2012‐01                               223                            223                               0
Andrus Transportation                   2011‐11                               104                       (1,281)                        1,385
Ashley Distribution Services            2011‐05                               514                      10,011                                  0
ATC Leasing Unimark Truck Trans         2011‐02                               297                            297                               0
B P Express Inc                         2011‐10                           4,001                           4,001                                0
Beelman Truck Co                        2012‐04                               368                             580                              0
Bestway System/Total Transportation     2010‐04                           5,090                           4,355                           735
BIH                                     2010‐01                           4,381                           4,367                               14
Bison Transport                         2011‐11                         24,063                         25,046                                  0
Black Horse Carriers                    2010‐12                           6,942                           6,933                                9
Black Horse Carriers                    2012‐03                           1,683                           1,676                                7
B‐T Inc (Part of Decker)                2010‐12                           2,208                           2,225                                0
B‐T Inc (Part of Decker)                2013‐01                           4,899                           4,910                                0
Buchanan Hauling & Rigging Inc          2012‐01                               475                            753                               0
C & K Trucking                          2011‐04                           1,873                           1,873                                0
C & K Trucking                          2012‐01                           2,219                           2,219                                0
C D N Logistics Inc                     2008‐09                           2,284                           4,478                                0
C D N Logistics Inc                     2011‐12                         46,003                         46,001                                  2
California Overland                     2009‐09                           4,115                           4,661                                0
Cedar Valley                            2008‐12                           9,654                           9,335                           319
Central Transport, LLC (Fleet Fuel)     2008‐04                           1,067                           1,067                                0




                                          1
    Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 32 of 60 PageID #:
                                        18893
                                             Exhibit 3
                                           Sample Data
                        (From Exhibit C to Mr. Alexander's July 18th Report)
                                                                                             Potential 
                                                                           SVRS           Overpayments 
                                                  IA Reimbursements  Reimbursements      (According to Mr. 
Customer                                Period       (Over)/Under      (Over)/Under         Alexander)
Central Transport, LLC (Fleet Fuel)     2009‐09                3,419             3,419                   0
Centurion Auto Transport Inc.           2009‐09                1,560             1,560                   0
Chambers Transportation                 2011‐01                    0                 0                   0
Chandler Trucking                       2011‐06                  598               522                  76
Chief Express LLC                       2011‐09                1,257             1,210                  47
Commonwealth Express                    2011‐10                7,126             6,985                 141
Compass Funding Solutions               2009‐07                6,319             6,286                  33
Compass Funding Solutions               2012‐12               10,217           10,171                   47
Cooke Trucking                          2011‐04                5,687             5,704                   0
CRT Transportation                      2012‐03                4,939             4,952                   0
Decker                                  2012‐01               13,838           13,676                  162
Dick Lavy                               2011‐07                4,716             5,586                   0
Dillon Transportation                   2012‐08                   22                29                   0
Doug Marquardt/Skyway Transportation    2010‐05                2,638             2,020                 618
Doug Marquardt/Skyway Transportation    2012‐12                7,609             5,836               1,773
Dowell Transport                        2011‐08                3,401             3,427                   0
Dutch Maid Logistics Inc                2011‐01                  373               219                 154
Dutch Maid Logistics Inc                2011‐02                  398               244                 154
Equity Transportation                   2011‐10                5,500             5,234                 267
First Choice Logistics                  2012‐10                1,482             1,481                   1
G & P Trucking                          2008‐08                5,713             5,713                   0
Gdx Trucking Inc                        2011‐01                1,220                 0               1,220
Grand Island Express                    2008‐05                  745               487                 259
Grand Island Express                    2009‐07                  216               216                   0
Gretna Enterprises LLC                  2009‐08                1,276             1,277                   0
H & M Trucking Inc                      2011‐02                2,425             2,321                 103




                                          2
    Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 33 of 60 PageID #:
                                        18894
                                               Exhibit 3
                                             Sample Data
                           (From Exhibit C to Mr. Alexander's July 18th Report)
                                                                                            Potential 
                                                                             SVRS         Overpayments 
                                                    IA Reimbursements  Reimbursements  (According to Mr. 
Customer                                  Period       (Over)/Under      (Over)/Under      Alexander)
Halvor Lines Inc                          2009‐06               19,348           19,404                 0
Heniff Transportation                     2008‐12               20,146           18,831            1,315
Hill Transportation Inc                   2008‐08                  789               789                0
Holland Transport                         2012‐07               39,801           39,822                 0
Holland Transport                         2009‐11                  245               245                0
Holmes Company of Jackson Inc.            2012‐05                  501               331              170
Honey Transport                           2011‐09                4,555             4,295              260
Iowa Motor Truck                          2010‐12                  613               609                5
Iowa Motor Truck                          2012‐10                1,036             1,019               17
Issac Transportation/Carlos Rodriguez     2010‐03                1,229             1,185               44
J‐Mar Enterprises                         2010‐02                1,423             1,419                3
K & C Trucking                            2012‐02                  194               194                0
K & C Trucking                            2012‐11                  183               183                0
Kenan Advantage Group Inc.                2011‐10                  527                22              505
Laris Shelman & Sons Trucking             2010‐02                1,623             1,517              106
MAINE'S PAPER & FOOD SERVICE              2008‐05                 (210)             (211)               1
MAINE'S PAPER & FOOD SERVICE              2008‐09                  450               449                1
MAINE'S PAPER & FOOD SERVICE              2008‐10                3,092             3,091                1
Major Transportation Services             2011‐12                3,466             3,443               23
Midwest Coast Transport                   2010‐05                  998               378              620
Midwest Coast Transport                   2010‐11                1,012               138              874
Midwest Logistics Inc. / IN               2010‐06                  564               565                0
Midwest Logistics Systems                 2012‐12                6,390             6,432                0
Mobility Network                          2011‐06                5,145             3,178           1,967
MR Trucking                               2012‐03                1,601             1,392              209
New Line Transport LLC.                   2009‐06                3,396             3,381               15




                                          3
    Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 34 of 60 PageID #:
                                        18895
                                               Exhibit 3
                                             Sample Data
                          (From Exhibit C to Mr. Alexander's July 18th Report)
                                                                                            Potential 
                                                                             SVRS         Overpayments 
                                                    IA Reimbursements  Reimbursements  (According to Mr. 
Customer                                  Period       (Over)/Under      (Over)/Under      Alexander)
Nick Strimbu Inc ATTN: William Strimbu    2009‐10                  986               986                 0
Nick Strimbu Inc ATTN: William Strimbu    2012‐12                1,214             1,214                 0
Northwest Pallet                          2012‐10                 (886)             (886)                0
Online Transport Inc                      2010‐03                4,145             4,148                 0
Park Transportation                       2013‐01                8,825             8,825                 0
Patriot Transport Inc                     2013‐01                1,912                 2           1,911
Piedmont Express                          2008‐11                3,479             3,452                27
Pohl Transportation Inc                   2010‐07                1,500             1,500                 0
Pohl Transportation Inc                   2012‐01                1,242             1,242                 0
Pollywog Transport                        2012‐05                1,618             1,618                 0
Pope Trucking                             2011‐07                1,574                 0           1,574
Preferred Transport &                     2013‐01                  678               678                 0
Queen Transportation                      2010‐04                1,247             1,231                16
Queen Transportation                      2010‐10                1,482             1,506                 0
R & R Trucking                            2012‐11                  139                (1)             140
Refrigerated Express LC                   2012‐10                1,505               751               754
Regal Beloit Logistics LLC (Marathon)     2011‐11                1,177             1,179                 0
Rose Acre Farms Inc                       2010‐05                  224               224                 0
Rose Acre Farms Inc                       2010‐12                  332               332                 0
Rose Acre Farms Inc                       2011‐06                  372               372                 0
Rose Acre Farms Inc                       2012‐12                  388               388                 0
RWH Trucking Inc/Southern Service         2011‐09                4,803             4,795                 7
Service Trucking Eustis, Florida          2010‐03                1,435             1,436                 0
Service Trucking Eustis, Florida          2010‐09                1,738             1,738                 0
Sharkey/Sysco/Shipper's Rental            2010‐10               17,206           14,170            3,036
Sharkey/Sysco/Shipper's Rental            2012‐12               33,401           36,027                  0




                                          4
    Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 35 of 60 PageID #:
                                        18896
                                             Exhibit 3
                                           Sample Data
                         (From Exhibit C to Mr. Alexander's July 18th Report)
                                                                                             Potential 
                                                                              SVRS         Overpayments 
                                                  IA Reimbursements     Reimbursements  (According to Mr. 
Customer                                Period       (Over)/Under         (Over)/Under      Alexander)
Silver Line Building Products           2013‐01                  219                  219                0
Simbeck Inc                             2010‐09                6,113                6,131                0
Simbeck Inc                             2011‐11                4,952                4,995                0
Solid Group Inc.                        2011‐10                  984                  984                0
South East Express Inc                  2011‐03                  293                    0              293
Stan Koch & Sons                        2011‐07               14,363              14,443                 0
Star Trans                              2009‐10                 (440)                (446)               6
Store & Haul Inc                        2011‐06                  998                  999                0
T H X Transport LLC                     2012‐02                  892                  894                0
T H X Transport LLC                     2012‐12                  726                  728                0
Tanks Alot LLC DBA                      2011‐08                  279                  279                0
Taylor Express Inc.                     2008‐06               (1,047)               1,804                0
Titan Transfer Inc                      2009‐09               15,609              15,683                 0
Tld Logistics Services Inc              2010‐02                1,778                1,778                0
Transport One                           2012‐08                1,330                1,317               14
TRANSTECH LOGISTICS                     2011‐10                3,105                3,108                0
Tri‐Hi Transportation                   2010‐04                3,523                3,517                7
Trio Trucking Inc                       2009‐08                1,134                1,138                0
Truckmen Corporation                    2012‐08                2,519                2,519                0
Trucks Inc                              2011‐10                3,793                3,747               46
TTI Inc.                                2012‐04                   (7)                 307                0
W E L Companies Inc                     2010‐03                5,614                5,614                0
W E L Companies Inc                     2010‐11                6,003                5,995                8
W E L Companies Inc                     2011‐05                6,760                6,759                1
Warren Transport                        2011‐10               (3,224)              (5,415)          2,192
West Wisconsin/Leonards Express         2010‐12                3,124                2,755              369




                                          5
    Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 36 of 60 PageID #:
                                        18897
                                                    Exhibit 3
                                                  Sample Data
                             (From Exhibit C to Mr. Alexander's July 18th Report)
                                                                                                                          Potential 
                                                                                   SVRS                                Overpayments 
                                                          IA Reimbursements  Reimbursements                           (According to Mr. 
Customer                                      Period         (Over)/Under      (Over)/Under                              Alexander)
Wooster Motor Ways                            2012‐08                   344               345                                        0
Wooster Motor Ways                            2012‐11                   228               229                                        0
Your Town Transport Inc                       2012‐11                   242               240                                        2


Average                                                   $                       4,120 $                     4,097 $                        181
Standard Deviation                                                                7,693                       7,784                          489
Population Size                                                                   2,309                       2,309                      2,309
Sample Size                                                                         133                         133                          133
Coefficient of Variation 1                                                   15.7%                         16.0%                        22.8%

Notes
1. The Coefficient of Variance equals the Average times the Sample Size divided by the Standard Deviation adjusted by 
the Sample Size and Finite Population Correction Factor.




                                           6
     Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 37 of 60 PageID #:
                                         18898
                                                                          Exhibit 4
                                                       Sample Data Allegedly Relevant to Mr. Hazelwood
                                                                                                                        Sample Items Alleged Relevant to Mr. Hazelwood
                                                 Sample Item Allegedly                                                                            SVRS                         Potential                  Potential Overpayments 
                                                    Relevant to Mr.     IA Reimbursements                 Loss Attribution              Reimbursements                    Overpayments         (Loss Attribution ‐ SVRS 
Customer                               Period         Hazelwood              (Over)/Under                    (Over)/Under                  (Over)/Under               (per Mr. Alexander)                      Reimbursements)
ABC Transportation Company             2010‐10            No
All American Xpress Inc                2010‐08            No
Altendorf                              2009‐11            No
Altendorf                              2010‐08            No
American Furniture Mfg Inc             2011‐04            No
American Furniture Mfg Inc             2012‐01            No
Andrus Transportation                  2011‐11            No
Ashley Distribution Services           2011‐05            No
ATC Leasing Unimark Truck Trans        2011‐02            No
B P Express Inc                        2011‐10            Yes           $                          4,001 $                       4,001 $                       4,001 $                               ‐    $                                        0
Beelman Truck Co                       2012‐04            Yes                                        368                           288                           580                                    0                                          0
Bestway System/Total Transportation    2010‐04            No
BIH                                    2010‐01            No
Bison Transport                        2011‐11            Yes                                   24,063                        26,498                        25,046                                      0                                  1,452
Black Horse Carriers                   2010‐12            Yes                                      6,942                         6,862                         6,933                                    9                                          0
Black Horse Carriers                   2012‐03            Yes                                      1,683                         1,603                         1,676                                    7                                          0
B‐T Inc (Part of Decker)               2010‐12            Yes                                      2,208                         2,128                         2,225                                    0                                          0
B‐T Inc (Part of Decker)               2013‐01            Yes                                      4,899                         4,819                         4,910                                    0                                          0
Buchanan Hauling & Rigging Inc         2012‐01            No
C & K Trucking                         2011‐04            Yes                                      1,873                         1,793                         1,873                                    0                                          0
C & K Trucking                         2012‐01            Yes                                      2,219                         2,139                         2,219                                    0                                          0
C D N Logistics Inc                    2008‐09            No 1
C D N Logistics Inc                    2011‐12            Yes                                   46,003                        45,923                        46,001                                      2                                          0
California Overland                    2009‐09            No
Cedar Valley                           2008‐12            No
Central Transport, LLC (Fleet Fuel)    2008‐04            Yes                                      1,067                           987                         1,067                                    0                                          0
Central Transport, LLC (Fleet Fuel)    2009‐09            Yes                                      3,419                         3,339                         3,419                                    0                                          0
Centurion Auto Transport Inc.          2009‐09            No
Chambers Transportation                2011‐01            No
Chandler Trucking                      2011‐06            No
Chief Express LLC                      2011‐09            No
Commonwealth Express                   2011‐10            Yes                                      7,126                         7,046                         6,985                                141                                         61
Compass Funding Solutions              2009‐07            Yes                                      6,319                         6,239                         6,286                                   33                                          0
Compass Funding Solutions              2012‐12            No 1
Cooke Trucking                         2011‐04            No
CRT Transportation                     2012‐03            No
Decker                                 2012‐01            Yes                                   13,838                        13,758                        13,676                                  162                                         82
Dick Lavy                              2011‐07            Yes                                      4,716                         4,636                         5,586                                    0                                          0
                                                             1
Dillon Transportation                  2012‐08            No 




                            Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                                  7   Filed 09/12/18 Page 38 of 60 PageID #:
                                                                18899
                                                                          Exhibit 4
                                                       Sample Data Allegedly Relevant to Mr. Hazelwood
                                                                                                      Sample Items Alleged Relevant to Mr. Hazelwood
                                                   Sample Item Allegedly                                                SVRS                Potential         Potential Overpayments 
                                                      Relevant to Mr.     IA Reimbursements    Loss Attribution   Reimbursements         Overpayments         (Loss Attribution ‐ SVRS 
Customer                                 Period         Hazelwood            (Over)/Under       (Over)/Under        (Over)/Under       (per Mr. Alexander)       Reimbursements)
Doug Marquardt/Skyway Transportation     2010‐05           No 1
Doug Marquardt/Skyway Transportation     2012‐12           No 1
Dowell Transport                         2011‐08           No
Dutch Maid Logistics Inc                 2011‐01           No
Dutch Maid Logistics Inc                 2011‐02           No
Equity Transportation                    2011‐10           Yes                        5,500               5,420                5,234                    267                       186
First Choice Logistics                   2012‐10           No 1
G & P Trucking                           2008‐08           Yes                        5,713               5,633                5,713                      0                          0
Gdx Trucking Inc                         2011‐01           No
Grand Island Express                     2008‐05           Yes                          745                 665                  487                    259                       178
Grand Island Express                     2009‐07           Yes                          216                 136                  216                      0                         0
Gretna Enterprises LLC                   2009‐08           Yes                        1,276               1,196                1,277                      0                         0
H & M Trucking Inc                       2011‐02           No
Halvor Lines Inc                         2009‐06           No 1
Heniff Transportation                    2008‐12           No
Hill Transportation Inc                  2008‐08           Yes                          789                 709                  789                      0                          0
Holland Transport                        2012‐07           No 1
Holland Transport                        2009‐11           Yes                          245                 165                  245                      0                          0
Holmes Company of Jackson Inc.           2012‐05           No
Honey Transport                          2011‐09           Yes                        4,555               4,475                4,295                    260                       180
Iowa Motor Truck                         2010‐12           Yes                          613                 533                  609                      5                         0
Iowa Motor Truck                         2012‐10           No 1
Issac Transportation/Carlos Rodriguez    2010‐03           No
J‐Mar Enterprises                        2010‐02           Yes                        1,423               1,343                1,419                      3                          0
K & C Trucking                           2012‐02           No
K & C Trucking                           2012‐11           No
Kenan Advantage Group Inc.               2011‐10           No
Laris Shelman & Sons Trucking            2010‐02           No
MAINE'S PAPER & FOOD SERVICE             2008‐05           No
MAINE'S PAPER & FOOD SERVICE             2008‐09           No
MAINE'S PAPER & FOOD SERVICE             2008‐10           No
Major Transportation Services            2011‐12           No
Midwest Coast Transport                  2010‐05           No
Midwest Coast Transport                  2010‐11           No
Midwest Logistics Inc. / IN              2010‐06           No
Midwest Logistics Systems                2012‐12           Yes                        6,390               6,310                6,432                      0                         0
Mobility Network                         2011‐06           Yes                        5,145               5,065                3,178                  1,967                     1,887
MR Trucking                              2012‐03           No




                           Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                                 8   Filed 09/12/18 Page 39 of 60 PageID #:
                                                               18900
                                                                           Exhibit 4
                                                        Sample Data Allegedly Relevant to Mr. Hazelwood
                                                                                                       Sample Items Alleged Relevant to Mr. Hazelwood
                                                    Sample Item Allegedly                                                SVRS                Potential         Potential Overpayments 
                                                       Relevant to Mr.     IA Reimbursements    Loss Attribution   Reimbursements         Overpayments         (Loss Attribution ‐ SVRS 
Customer                                  Period         Hazelwood            (Over)/Under       (Over)/Under        (Over)/Under       (per Mr. Alexander)       Reimbursements)
New Line Transport LLC.                   2009‐06            No
Nick Strimbu Inc ATTN: William Strimbu    2009‐10            No
Nick Strimbu Inc ATTN: William Strimbu    2012‐12            No
Northwest Pallet                          2012‐10            No
Online Transport Inc                      2010‐03            No
Park Transportation                       2013‐01            No
Patriot Transport Inc                     2013‐01            No
Piedmont Express                          2008‐11            No
Pohl Transportation Inc                   2010‐07            Yes                        1,500              1,420                1,500                      0                          0
Pohl Transportation Inc                   2012‐01            Yes                        1,242              1,162                1,242                      0                          0
Pollywog Transport                        2012‐05            No
Pope Trucking                             2011‐07            No
Preferred Transport &                     2013‐01            No
Queen Transportation                      2010‐04            Yes                        1,247              1,247                1,231                     16                        16
Queen Transportation                      2010‐10            Yes                        1,482              1,482                1,506                      0                         0
R & R Trucking                            2012‐11            No
Refrigerated Express LC                   2012‐10            No
Regal Beloit Logistics LLC (Marathon)     2011‐11            Yes                        1,177                243                1,179                      0                          0
Rose Acre Farms Inc                       2010‐05            No
Rose Acre Farms Inc                       2010‐12            No
Rose Acre Farms Inc                       2011‐06            No
Rose Acre Farms Inc                       2012‐12            No
RWH Trucking Inc/Southern Service         2011‐09            No
Service Trucking Eustis, Florida          2010‐03            No
Service Trucking Eustis, Florida          2010‐09            No
Sharkey/Sysco/Shipper's Rental            2010‐10            Yes                       17,206             17,126               14,170                  3,036                     2,956
Sharkey/Sysco/Shipper's Rental            2012‐12            Yes                       33,401             33,321               36,027                      0                         0
Silver Line Building Products             2013‐01            No
Simbeck Inc                               2010‐09            No
Simbeck Inc                               2011‐11            No
Solid Group Inc.                          2011‐10            No
South East Express Inc                    2011‐03            No
Stan Koch & Sons                          2011‐07            No
Star Trans                                2009‐10            No
Store & Haul Inc                          2011‐06            No 1
T H X Transport LLC                       2012‐02            No
T H X Transport LLC                       2012‐12            No
Tanks Alot LLC DBA                        2011‐08            No
Taylor Express Inc.                       2008‐06            No




                          Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                                9   Filed 09/12/18 Page 40 of 60 PageID #:
                                                              18901
                                                                                Exhibit 4
                                                             Sample Data Allegedly Relevant to Mr. Hazelwood
                                                                                                                          Sample Items Alleged Relevant to Mr. Hazelwood
                                                        Sample Item Allegedly                                                               SVRS                Potential         Potential Overpayments 
                                                           Relevant to Mr.     IA Reimbursements                   Loss Attribution   Reimbursements         Overpayments         (Loss Attribution ‐ SVRS 
Customer                                     Period          Hazelwood            (Over)/Under                      (Over)/Under        (Over)/Under       (per Mr. Alexander)       Reimbursements)
Titan Transfer Inc                           2009‐09             No
Tld Logistics Services Inc                   2010‐02             No
Transport One                                2012‐08             No
TRANSTECH LOGISTICS                          2011‐10             No
Tri‐Hi Transportation                        2010‐04             Yes                         3,523                                   3,443                          3,517                                    7                                       0
Trio Trucking Inc                            2009‐08             Yes                         1,134                                   1,054                          1,138                                    0                                       0
Truckmen Corporation                         2012‐08             No
Trucks Inc                                   2011‐10             No
TTI Inc.                                     2012‐04             Yes                            (7)                                       (7)                          307                                   0                                       0
W E L Companies Inc                          2010‐03             No
W E L Companies Inc                          2010‐11             No
W E L Companies Inc                          2011‐05             No
Warren Transport                             2011‐10             Yes                        (3,224)                                 (3,224)                        (5,415)                             2,192                                  2,191
West Wisconsin/Leonards Express              2010‐12             No
Wooster Motor Ways                           2012‐08             No
Wooster Motor Ways                           2012‐11             No
Your Town Transport Inc                      2012‐11             No


Average                                                                         $                          5,693 $                       5,666 $                       5,610 $                              215 $                                    236
Standard Deviation                                                                                         9,534                         9,675                         9,768                                656                                      672
Population Size                                                                                            2,309                         2,309                         2,309                            2,309                                    2,309
Sample Size                                                                                                   39                            39                            39                                 39                                       39
Coefficient of Variation                                                                                   26.6%                         27.1%                         27.6%                             48.5%                                   45.3%

Notes
1.  Even though this customer name is included in the Government's August 1, 2018 Notice of No Objection to the Presentence Investigation Report For Defendant Hazelwood, this particular month is
not included
2. The Coefficient of Variance equals the Average times the Sample Size divided by the Standard Deviation adjusted by the Sample Size and Finite Population Correction Factor




                           Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                                 10  Filed 09/12/18 Page 41 of 60 PageID #:
                                                               18902
                                       Exhibit 5
Calculation of Overstatement Assuming Mr. Alexander's Accounting Calculations Are Accurate


Estimated Average Sample Overstatement               (A) = Average Last Column of Exhibit 4                     236
Population Size                                      (B)                                                      2,309
Sample Size                                          (C)                                                         39

Point Estimate of Overstatement                      (D) = (A) * (B)                                        544,088

Estimated Standard Deviation of Overstatement        (E) = Standard Deviation of Last Column of Exhibit 4       672
Estimated Standard Error                             (F) = SQRT [ {(B) / (C)} * {(B) ‐ (C)} * (E) ^2 ]      246,315

Degrees of Freedom                                   (G) = (C) ‐1                                                38
t‐value 95%, one‐sided                               (H) from Standard Tables                                1.6860

Least Advantangeous 95% One‐Sided Confidence Limit   (I) = (D) + (F) * (H)                                  959,364

Precision                                            (J) = { (I) ‐ (D) } / (D)                               76.3%




                                                  11
            Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 42 of 60 PageID #:
                                                18903
                                                              Exhibit 6
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 10% Reduction for Eight Customers
                                                                                                                                      Assuming Attributed 
                                                                                                                                      Losses for the Eight     Potential Overpayments (Loss 
                                                 Sample Item Allegedly                                            SVRS                  Customers Were         Attribution ‐ (Reimbursements 
                                                    Relevant to Mr.       Loss Attribution             Reimbursements                  Overstated by 10%       less 10% if applicable, if not, 
Customer                               Period         Hazelwood             (Over)/Under                  (Over)/Under                   (Over)/Under             SVRS Reimbursements))
ABC Transportation Company             2010‐10            No
All American Xpress Inc                2010‐08            No
Altendorf                              2009‐11            No
Altendorf                              2010‐08            No
American Furniture Mfg Inc             2011‐04            No
American Furniture Mfg Inc             2012‐01            No
Andrus Transportation                  2011‐11            No
Ashley Distribution Services           2011‐05            No
ATC Leasing Unimark Truck Trans        2011‐02            No
B P Express Inc                        2011‐10            Yes           $                       4,001 $                       4,001                   3,601                                400
Beelman Truck Co                       2012‐04            Yes                                     288                           580                                                          0
Bestway System/Total Transportation    2010‐04            No
BIH                                    2010‐01            No
Bison Transport                        2011‐11            Yes                                 26,498                        25,046                   23,848                              2,650
Black Horse Carriers                   2010‐12            Yes                                   6,862                         6,933                                                          0
Black Horse Carriers                   2012‐03            Yes                                   1,603                         1,676                                                          0
B‐T Inc (Part of Decker)               2010‐12            Yes                                   2,128                         2,225                   1,915                                213
B‐T Inc (Part of Decker)               2013‐01            Yes                                   4,819                         4,910                   4,337                                482
Buchanan Hauling & Rigging Inc         2012‐01            No
C & K Trucking                         2011‐04            Yes                                   1,793                         1,873                                                          0
C & K Trucking                         2012‐01            Yes                                   2,139                         2,219                                                          0
                                                             1
C D N Logistics Inc                    2008‐09            No 
C D N Logistics Inc                    2011‐12            Yes                                 45,923                        46,001                   41,330                              4,592
California Overland                    2009‐09            No
Cedar Valley                           2008‐12            No
Central Transport, LLC (Fleet Fuel)    2008‐04            Yes                                     987                         1,067                                                          0
Central Transport, LLC (Fleet Fuel)    2009‐09            Yes                                   3,339                         3,419                                                          0
Centurion Auto Transport Inc.          2009‐09            No
Chambers Transportation                2011‐01            No
Chandler Trucking                      2011‐06            No
Chief Express LLC                      2011‐09            No
Commonwealth Express                   2011‐10            Yes                                   7,046                         6,985                                                         61
Compass Funding Solutions              2009‐07            Yes                                   6,239                         6,286                                                          0
                                                             1
Compass Funding Solutions              2012‐12            No 




                        Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                              12  Filed 09/12/18 Page 43 of 60 PageID #:
                                                            18904
                                                              Exhibit 6
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 10% Reduction for Eight Customers
                                                                                                                  Assuming Attributed 
                                                                                                                  Losses for the Eight     Potential Overpayments (Loss 
                                                   Sample Item Allegedly                             SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                      Relevant to Mr.       Loss Attribution    Reimbursements     Overstated by 10%       less 10% if applicable, if not, 
Customer                                 Period         Hazelwood            (Over)/Under        (Over)/Under        (Over)/Under             SVRS Reimbursements))
Cooke Trucking                           2011‐04            No
CRT Transportation                       2012‐03            No
Decker                                   2012‐01            Yes                        13,758            13,676                  12,382                              1,376
Dick Lavy                                2011‐07            Yes                         4,636             5,586                                                          0
                                                               1
Dillon Transportation                    2012‐08            No 
Doug Marquardt/Skyway Transportation     2010‐05            No 1
Doug Marquardt/Skyway Transportation     2012‐12            No 1
Dowell Transport                         2011‐08            No
Dutch Maid Logistics Inc                 2011‐01            No
Dutch Maid Logistics Inc                 2011‐02            No
Equity Transportation                    2011‐10            Yes                         5,420             5,234                   4,878                                542
                                                               1
First Choice Logistics                   2012‐10            No 
G & P Trucking                           2008‐08            Yes                         5,633             5,713                                                          0
Gdx Trucking Inc                         2011‐01            No
Grand Island Express                     2008‐05            Yes                           665               487                                                        178
Grand Island Express                     2009‐07            Yes                           136               216                                                          0
Gretna Enterprises LLC                   2009‐08            Yes                         1,196             1,277                                                          0
H & M Trucking Inc                       2011‐02            No
                                                               1
Halvor Lines Inc                         2009‐06            No 
Heniff Transportation                    2008‐12            No
Hill Transportation Inc                  2008‐08            Yes                           709               789                                                          0
Holland Transport                        2012‐07            No 1
Holland Transport                        2009‐11            Yes                           165               245                                                          0
Holmes Company of Jackson Inc.           2012‐05            No
Honey Transport                          2011‐09            Yes                         4,475             4,295                                                        180
Iowa Motor Truck                         2010‐12            Yes                           533               609                                                          0
                                                               1
Iowa Motor Truck                         2012‐10            No 
Issac Transportation/Carlos Rodriguez    2010‐03            No
J‐Mar Enterprises                        2010‐02            Yes                         1,343             1,419                                                          0
K & C Trucking                           2012‐02            No
K & C Trucking                           2012‐11            No
Kenan Advantage Group Inc.               2011‐10            No
Laris Shelman & Sons Trucking            2010‐02            No
MAINE'S PAPER & FOOD SERVICE             2008‐05            No




                       Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                             13  Filed 09/12/18 Page 44 of 60 PageID #:
                                                           18905
                                                               Exhibit 6
                   Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 10% Reduction for Eight Customers
                                                                                                                   Assuming Attributed 
                                                                                                                   Losses for the Eight     Potential Overpayments (Loss 
                                                    Sample Item Allegedly                             SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                       Relevant to Mr.       Loss Attribution    Reimbursements     Overstated by 10%       less 10% if applicable, if not, 
Customer                                  Period         Hazelwood            (Over)/Under        (Over)/Under        (Over)/Under             SVRS Reimbursements))
MAINE'S PAPER & FOOD SERVICE              2008‐09            No
MAINE'S PAPER & FOOD SERVICE              2008‐10            No
Major Transportation Services             2011‐12            No
Midwest Coast Transport                   2010‐05            No
Midwest Coast Transport                   2010‐11            No
Midwest Logistics Inc. / IN               2010‐06            No
Midwest Logistics Systems                 2012‐12            Yes                         6,310             6,432                   5,679                                631
Mobility Network                          2011‐06            Yes                         5,065             3,178                                                      1,887
MR Trucking                               2012‐03            No
New Line Transport LLC.                   2009‐06            No
Nick Strimbu Inc ATTN: William Strimbu    2009‐10            No
Nick Strimbu Inc ATTN: William Strimbu    2012‐12            No
Northwest Pallet                          2012‐10            No
Online Transport Inc                      2010‐03            No
Park Transportation                       2013‐01            No
Patriot Transport Inc                     2013‐01            No
Piedmont Express                          2008‐11            No
Pohl Transportation Inc                   2010‐07            Yes                         1,420             1,500                                                          0
Pohl Transportation Inc                   2012‐01            Yes                         1,162             1,242                                                          0
Pollywog Transport                        2012‐05            No
Pope Trucking                             2011‐07            No
Preferred Transport &                     2013‐01            No
Queen Transportation                      2010‐04            Yes                         1,247             1,231                                                         16
Queen Transportation                      2010‐10            Yes                         1,482             1,506                                                          0
R & R Trucking                            2012‐11            No
Refrigerated Express LC                   2012‐10            No
Regal Beloit Logistics LLC (Marathon)     2011‐11            Yes                           243             1,179                                                          0
Rose Acre Farms Inc                       2010‐05            No
Rose Acre Farms Inc                       2010‐12            No
Rose Acre Farms Inc                       2011‐06            No
Rose Acre Farms Inc                       2012‐12            No
RWH Trucking Inc/Southern Service         2011‐09            No
Service Trucking Eustis, Florida          2010‐03            No
Service Trucking Eustis, Florida          2010‐09            No
Sharkey/Sysco/Shipper's Rental            2010‐10            Yes                        17,126            14,170                  15,414                              1,713




                         Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                               14  Filed 09/12/18 Page 45 of 60 PageID #:
                                                             18906
                                                              Exhibit 6
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 10% Reduction for Eight Customers
                                                                                                               Assuming Attributed 
                                                                                                               Losses for the Eight     Potential Overpayments (Loss 
                                             Sample Item Allegedly                              SVRS             Customers Were         Attribution ‐ (Reimbursements 
                                                Relevant to Mr.       Loss Attribution     Reimbursements       Overstated by 10%       less 10% if applicable, if not, 
Customer                           Period         Hazelwood            (Over)/Under         (Over)/Under          (Over)/Under             SVRS Reimbursements))
Sharkey/Sysco/Shipper's Rental     2012‐12            Yes                        33,321              36,027                   29,989                               3,332
Silver Line Building Products      2013‐01            No
Simbeck Inc                        2010‐09            No
Simbeck Inc                        2011‐11            No
Solid Group Inc.                   2011‐10            No
South East Express Inc             2011‐03            No
Stan Koch & Sons                   2011‐07            No
Star Trans                         2009‐10            No
                                                         1
Store & Haul Inc                   2011‐06            No 
T H X Transport LLC                2012‐02            No
T H X Transport LLC                2012‐12            No
Tanks Alot LLC DBA                 2011‐08            No
Taylor Express Inc.                2008‐06            No
Titan Transfer Inc                 2009‐09            No
Tld Logistics Services Inc         2010‐02            No
Transport One                      2012‐08            No
TRANSTECH LOGISTICS                2011‐10            No
Tri‐Hi Transportation              2010‐04            Yes                        3,443                3,517                                                           0
Trio Trucking Inc                  2009‐08            Yes                        1,054                1,138                                                           0
Truckmen Corporation               2012‐08            No
Trucks Inc                         2011‐10            No
TTI Inc.                           2012‐04            Yes                            (7)               307                                                            0
W E L Companies Inc                2010‐03            No
W E L Companies Inc                2010‐11            No
W E L Companies Inc                2011‐05            No
Warren Transport                   2011‐10            Yes                       (3,224)              (5,415)                                                      2,191
West Wisconsin/Leonards Express    2010‐12            No
Wooster Motor Ways                 2012‐08            No
Wooster Motor Ways                 2012‐11            No
Your Town Transport Inc            2012‐11            No




                       Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                             15  Filed 09/12/18 Page 46 of 60 PageID #:
                                                           18907
                                                                 Exhibit 6
                     Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 10% Reduction for Eight Customers
                                                                                                                                     Assuming Attributed 
                                                                                                                                     Losses for the Eight     Potential Overpayments (Loss 
                                                          Sample Item Allegedly                                         SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                             Relevant to Mr.         Loss Attribution              Reimbursements     Overstated by 10%       less 10% if applicable, if not, 
Customer                                       Period          Hazelwood               (Over)/Under                 (Over)/Under        (Over)/Under               SVRS Reimbursements))
Average                                                                            $                       5,666                                             $                                                 524
Standard Deviation                                                                                         9,675                                                                                           1,062
Population Size                                                                                            2,309                                                                                           2,309
Sample Size                                                                                                   39                                                                                                39
                          2
Coefficient of Variation                                                                                   27.1%                                                                                            32.2%

Notes
1.  Even though this customer name is included in the Government's August 1, 2018 Notice of No Objection to the Presentence Investigation Report For Defendant Hazelwood, this 
particular month is not included

2. The Coefficient of Variance equals the Average times the Sample Size divided by the Standard Deviation adjusted by the Sample Size and Finite Population Correction Factor.




                              Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                                    16  Filed 09/12/18 Page 47 of 60 PageID #:
                                                                  18908
                                              Exhibit 7
Calculation of Overstatement Assuming Mr. Alexander's Accounting Calculations Are Accurate & Including 
                                 a 10% Reduction for Eight Customers

      Estimated Average Sample Overstatement               (A) = Average Last Column of Exhibit 6                      524
      Population Size                                      (B)                                                       2,309
      Sample Size                                          (C)                                                          39

      Point Estimate of Overstatement                      (D) = (A) * (B)                                        1,210,353

      Estimated Standard Deviation of Overstatement        (E) = Standard Deviation of Last Column of Exhibit 6      1,062
      Estimated Standard Error                             (F) = SQRT [ {(B) / (C)} * {(B) ‐ (C)} * (E) ^2 ]       389,440

      Degrees of Freedom                                   (G) = (C) ‐1                                                 38
      t‐value 95%, one‐sided                               (H) from Standard Tables                                 1.6860

      Least Advantangeous 95% One‐Sided Confidence Limit   (I) = (D) + (F) * (H)                                  1,866,932

      Precision                                            (J) = { (I) ‐ (D) } / (D)                                 54.2%




                                                        17
                  Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 48 of 60 PageID #:
                                                      18909
                                                              Exhibit 8
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 20% Reduction for Eight Customers
                                                                                                                                      Assuming Attributed 
                                                                                                                                      Losses for the Eight     Potential Overpayments (Loss 
                                                 Sample Item Allegedly                                            SVRS                  Customers Were         Attribution ‐ (Reimbursements 
                                                    Relevant to Mr.       Loss Attribution             Reimbursements                  Overstated by 20%       less 20% if applicable, if not, 
Customer                               Period         Hazelwood             (Over)/Under                  (Over)/Under                   (Over)/Under             SVRS Reimbursements))
ABC Transportation Company             2010‐10            No
All American Xpress Inc                2010‐08            No
Altendorf                              2009‐11            No
Altendorf                              2010‐08            No
American Furniture Mfg Inc             2011‐04            No
American Furniture Mfg Inc             2012‐01            No
Andrus Transportation                  2011‐11            No
Ashley Distribution Services           2011‐05            No
ATC Leasing Unimark Truck Trans        2011‐02            No
B P Express Inc                        2011‐10            Yes           $                       4,001 $                       4,001                   3,201                                800
Beelman Truck Co                       2012‐04            Yes                                     288                           580                                                          0
Bestway System/Total Transportation    2010‐04            No
BIH                                    2010‐01            No
Bison Transport                        2011‐11            Yes                                26,498                        25,046                    21,198                              5,300
Black Horse Carriers                   2010‐12            Yes                                   6,862                         6,933                                                          0
Black Horse Carriers                   2012‐03            Yes                                   1,603                         1,676                                                          0
B‐T Inc (Part of Decker)               2010‐12            Yes                                   2,128                         2,225                   1,703                                426
B‐T Inc (Part of Decker)               2013‐01            Yes                                   4,819                         4,910                   3,855                                964
Buchanan Hauling & Rigging Inc         2012‐01            No
C & K Trucking                         2011‐04            Yes                                   1,793                         1,873                                                          0
C & K Trucking                         2012‐01            Yes                                   2,139                         2,219                                                          0
                                                             1
C D N Logistics Inc                    2008‐09            No 
C D N Logistics Inc                    2011‐12            Yes                                45,923                        46,001                    36,738                              9,185
California Overland                    2009‐09            No
Cedar Valley                           2008‐12            No
Central Transport, LLC (Fleet Fuel)    2008‐04            Yes                                     987                         1,067                                                          0
Central Transport, LLC (Fleet Fuel)    2009‐09            Yes                                   3,339                         3,419                                                          0
Centurion Auto Transport Inc.          2009‐09            No
Chambers Transportation                2011‐01            No
Chandler Trucking                      2011‐06            No
Chief Express LLC                      2011‐09            No
Commonwealth Express                   2011‐10            Yes                                   7,046                         6,985                                                         61
Compass Funding Solutions              2009‐07            Yes                                   6,239                         6,286                                                          0
                                                             1
Compass Funding Solutions              2012‐12            No 




                        Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                              18  Filed 09/12/18 Page 49 of 60 PageID #:
                                                            18910
                                                              Exhibit 8
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 20% Reduction for Eight Customers
                                                                                                                  Assuming Attributed 
                                                                                                                  Losses for the Eight     Potential Overpayments (Loss 
                                                   Sample Item Allegedly                             SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                      Relevant to Mr.       Loss Attribution    Reimbursements     Overstated by 20%       less 20% if applicable, if not, 
Customer                                 Period         Hazelwood            (Over)/Under        (Over)/Under        (Over)/Under             SVRS Reimbursements))
Cooke Trucking                           2011‐04            No
CRT Transportation                       2012‐03            No
Decker                                   2012‐01            Yes                        13,758            13,676                  11,006                              2,752
Dick Lavy                                2011‐07            Yes                         4,636             5,586                                                          0
                                                               1
Dillon Transportation                    2012‐08            No 
Doug Marquardt/Skyway Transportation     2010‐05            No 1
Doug Marquardt/Skyway Transportation     2012‐12            No 1
Dowell Transport                         2011‐08            No
Dutch Maid Logistics Inc                 2011‐01            No
Dutch Maid Logistics Inc                 2011‐02            No
Equity Transportation                    2011‐10            Yes                         5,420             5,234                   4,336                              1,084
                                                               1
First Choice Logistics                   2012‐10            No 
G & P Trucking                           2008‐08            Yes                         5,633             5,713                                                          0
Gdx Trucking Inc                         2011‐01            No
Grand Island Express                     2008‐05            Yes                           665               487                                                        178
Grand Island Express                     2009‐07            Yes                           136               216                                                          0
Gretna Enterprises LLC                   2009‐08            Yes                         1,196             1,277                                                          0
H & M Trucking Inc                       2011‐02            No
                                                               1
Halvor Lines Inc                         2009‐06            No 
Heniff Transportation                    2008‐12            No
Hill Transportation Inc                  2008‐08            Yes                           709               789                                                          0
Holland Transport                        2012‐07            No 1
Holland Transport                        2009‐11            Yes                           165               245                                                          0
Holmes Company of Jackson Inc.           2012‐05            No
Honey Transport                          2011‐09            Yes                         4,475             4,295                                                        180
Iowa Motor Truck                         2010‐12            Yes                           533               609                                                          0
                                                               1
Iowa Motor Truck                         2012‐10            No 
Issac Transportation/Carlos Rodriguez    2010‐03            No
J‐Mar Enterprises                        2010‐02            Yes                         1,343             1,419                                                          0
K & C Trucking                           2012‐02            No
K & C Trucking                           2012‐11            No
Kenan Advantage Group Inc.               2011‐10            No
Laris Shelman & Sons Trucking            2010‐02            No
MAINE'S PAPER & FOOD SERVICE             2008‐05            No




                       Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                             19  Filed 09/12/18 Page 50 of 60 PageID #:
                                                           18911
                                                               Exhibit 8
                   Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 20% Reduction for Eight Customers
                                                                                                                   Assuming Attributed 
                                                                                                                   Losses for the Eight     Potential Overpayments (Loss 
                                                    Sample Item Allegedly                             SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                       Relevant to Mr.       Loss Attribution    Reimbursements     Overstated by 20%       less 20% if applicable, if not, 
Customer                                  Period         Hazelwood            (Over)/Under        (Over)/Under        (Over)/Under             SVRS Reimbursements))
MAINE'S PAPER & FOOD SERVICE              2008‐09            No
MAINE'S PAPER & FOOD SERVICE              2008‐10            No
Major Transportation Services             2011‐12            No
Midwest Coast Transport                   2010‐05            No
Midwest Coast Transport                   2010‐11            No
Midwest Logistics Inc. / IN               2010‐06            No
Midwest Logistics Systems                 2012‐12            Yes                         6,310             6,432                   5,048                              1,262
Mobility Network                          2011‐06            Yes                         5,065             3,178                                                      1,887
MR Trucking                               2012‐03            No
New Line Transport LLC.                   2009‐06            No
Nick Strimbu Inc ATTN: William Strimbu    2009‐10            No
Nick Strimbu Inc ATTN: William Strimbu    2012‐12            No
Northwest Pallet                          2012‐10            No
Online Transport Inc                      2010‐03            No
Park Transportation                       2013‐01            No
Patriot Transport Inc                     2013‐01            No
Piedmont Express                          2008‐11            No
Pohl Transportation Inc                   2010‐07            Yes                         1,420             1,500                                                          0
Pohl Transportation Inc                   2012‐01            Yes                         1,162             1,242                                                          0
Pollywog Transport                        2012‐05            No
Pope Trucking                             2011‐07            No
Preferred Transport &                     2013‐01            No
Queen Transportation                      2010‐04            Yes                         1,247             1,231                                                         16
Queen Transportation                      2010‐10            Yes                         1,482             1,506                                                          0
R & R Trucking                            2012‐11            No
Refrigerated Express LC                   2012‐10            No
Regal Beloit Logistics LLC (Marathon)     2011‐11            Yes                           243             1,179                                                          0
Rose Acre Farms Inc                       2010‐05            No
Rose Acre Farms Inc                       2010‐12            No
Rose Acre Farms Inc                       2011‐06            No
Rose Acre Farms Inc                       2012‐12            No
RWH Trucking Inc/Southern Service         2011‐09            No
Service Trucking Eustis, Florida          2010‐03            No
Service Trucking Eustis, Florida          2010‐09            No
Sharkey/Sysco/Shipper's Rental            2010‐10            Yes                        17,126            14,170                  13,701                              3,425




                         Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                               20  Filed 09/12/18 Page 51 of 60 PageID #:
                                                             18912
                                                              Exhibit 8
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 20% Reduction for Eight Customers
                                                                                                               Assuming Attributed 
                                                                                                               Losses for the Eight     Potential Overpayments (Loss 
                                             Sample Item Allegedly                              SVRS             Customers Were         Attribution ‐ (Reimbursements 
                                                Relevant to Mr.       Loss Attribution     Reimbursements       Overstated by 20%       less 20% if applicable, if not, 
Customer                           Period         Hazelwood            (Over)/Under         (Over)/Under          (Over)/Under             SVRS Reimbursements))
Sharkey/Sysco/Shipper's Rental     2012‐12            Yes                        33,321              36,027                   26,657                               6,664
Silver Line Building Products      2013‐01            No
Simbeck Inc                        2010‐09            No
Simbeck Inc                        2011‐11            No
Solid Group Inc.                   2011‐10            No
South East Express Inc             2011‐03            No
Stan Koch & Sons                   2011‐07            No
Star Trans                         2009‐10            No
                                                         1
Store & Haul Inc                   2011‐06            No 
T H X Transport LLC                2012‐02            No
T H X Transport LLC                2012‐12            No
Tanks Alot LLC DBA                 2011‐08            No
Taylor Express Inc.                2008‐06            No
Titan Transfer Inc                 2009‐09            No
Tld Logistics Services Inc         2010‐02            No
Transport One                      2012‐08            No
TRANSTECH LOGISTICS                2011‐10            No
Tri‐Hi Transportation              2010‐04            Yes                        3,443                3,517                                                           0
Trio Trucking Inc                  2009‐08            Yes                        1,054                1,138                                                           0
Truckmen Corporation               2012‐08            No
Trucks Inc                         2011‐10            No
TTI Inc.                           2012‐04            Yes                            (7)               307                                                            0
W E L Companies Inc                2010‐03            No
W E L Companies Inc                2010‐11            No
W E L Companies Inc                2011‐05            No
Warren Transport                   2011‐10            Yes                       (3,224)              (5,415)                                                      2,191
West Wisconsin/Leonards Express    2010‐12            No
Wooster Motor Ways                 2012‐08            No
Wooster Motor Ways                 2012‐11            No
Your Town Transport Inc            2012‐11            No




                       Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                             21  Filed 09/12/18 Page 52 of 60 PageID #:
                                                           18913
                                                                Exhibit 8
                    Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 20% Reduction for Eight Customers
                                                                                                                                     Assuming Attributed 
                                                                                                                                     Losses for the Eight     Potential Overpayments (Loss 
                                                          Sample Item Allegedly                                         SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                             Relevant to Mr.         Loss Attribution              Reimbursements     Overstated by 20%       less 20% if applicable, if not, 
Customer                                       Period          Hazelwood               (Over)/Under                 (Over)/Under        (Over)/Under               SVRS Reimbursements))
Average                                                                            $                       5,666                                             $                                                 933
Standard Deviation                                                                                         9,675                                                                                           2,021
Population Size                                                                                            2,309                                                                                           2,309
Sample Size                                                                                                   39                                                                                                39
                         2
Coefficient of Variation                                                                                   27.1%                                                                                           34.4%

Notes
1.  Even though this customer name is included in the Government's August 1, 2018 Notice of No Objection to the Presentence Investigation Report For Defendant Hazelwood, this 
particular month is not included

2. The Coefficient of Variance equals the Average times the Sample Size divided by the Standard Deviation adjusted by the Sample Size and Finite Population Correction Factor.




                             Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                                   22  Filed 09/12/18 Page 53 of 60 PageID #:
                                                                 18914
                                              Exhibit 9
Calculation of Overstatement Assuming Mr. Alexander's Accounting Calculations Are Accurate & Including 
                                 a 20% Reduction for Eight Customers

      Estimated Average Sample Overstatement               (A) = Average Last Column of Exhibit 8                      933
      Population Size                                      (B)                                                       2,309
      Sample Size                                          (C)                                                          39

      Point Estimate of Overstatement                      (D) = (A) * (B)                                        2,153,517

      Estimated Standard Deviation of Overstatement        (E) = Standard Deviation of Last Column of Exhibit 8      2,021
      Estimated Standard Error                             (F) = SQRT [ {(B) / (C)} * {(B) ‐ (C)} * (E) ^2 ]       740,830

      Degrees of Freedom                                   (G) = (C) ‐1                                                 38
      t‐value 95%, one‐sided                               (H) from Standard Tables                                 1.6860

      Least Advantangeous 95% One‐Sided Confidence Limit   (I) = (D) + (F) * (H)                                  3,402,523

      Precision                                            (J) = { (I) ‐ (D) } / (D)                                 58.0%




                                                        23
                  Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 54 of 60 PageID #:
                                                      18915
                                                             Exhibit 10
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 30% Reduction for Eight Customers
                                                                                                                                      Assuming Attributed 
                                                                                                                                      Losses for the Eight     Potential Overpayments (Loss 
                                                 Sample Item Allegedly                                            SVRS                  Customers Were         Attribution ‐ (Reimbursements 
                                                    Relevant to Mr.       Loss Attribution             Reimbursements                  Overstated by 30%       less 30% if applicable, if not, 
Customer                               Period         Hazelwood             (Over)/Under                  (Over)/Under                   (Over)/Under             SVRS Reimbursements))
ABC Transportation Company             2010‐10            No
All American Xpress Inc                2010‐08            No
Altendorf                              2009‐11            No
Altendorf                              2010‐08            No
American Furniture Mfg Inc             2011‐04            No
American Furniture Mfg Inc             2012‐01            No
Andrus Transportation                  2011‐11            No
Ashley Distribution Services           2011‐05            No
ATC Leasing Unimark Truck Trans        2011‐02            No
B P Express Inc                        2011‐10            Yes           $                       4,001 $                       4,001                   2,801                              1,200
Beelman Truck Co                       2012‐04            Yes                                     288                           580                                                          0
Bestway System/Total Transportation    2010‐04            No
BIH                                    2010‐01            No
Bison Transport                        2011‐11            Yes                                26,498                        25,046                    18,548                              7,949
Black Horse Carriers                   2010‐12            Yes                                   6,862                         6,933                                                          0
Black Horse Carriers                   2012‐03            Yes                                   1,603                         1,676                                                          0
B‐T Inc (Part of Decker)               2010‐12            Yes                                   2,128                         2,225                   1,490                                638
B‐T Inc (Part of Decker)               2013‐01            Yes                                   4,819                         4,910                   3,373                              1,446
Buchanan Hauling & Rigging Inc         2012‐01            No
C & K Trucking                         2011‐04            Yes                                   1,793                         1,873                                                          0
C & K Trucking                         2012‐01            Yes                                   2,139                         2,219                                                          0
                                                             1
C D N Logistics Inc                    2008‐09            No 
C D N Logistics Inc                    2011‐12            Yes                                45,923                        46,001                    32,146                             13,777
California Overland                    2009‐09            No
Cedar Valley                           2008‐12            No
Central Transport, LLC (Fleet Fuel)    2008‐04            Yes                                     987                         1,067                                                          0
Central Transport, LLC (Fleet Fuel)    2009‐09            Yes                                   3,339                         3,419                                                          0
Centurion Auto Transport Inc.          2009‐09            No
Chambers Transportation                2011‐01            No
Chandler Trucking                      2011‐06            No
Chief Express LLC                      2011‐09            No
Commonwealth Express                   2011‐10            Yes                                   7,046                         6,985                                                         61
Compass Funding Solutions              2009‐07            Yes                                   6,239                         6,286                                                          0
                                                             1
Compass Funding Solutions              2012‐12            No 




                        Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                              24  Filed 09/12/18 Page 55 of 60 PageID #:
                                                            18916
                                                             Exhibit 10
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 30% Reduction for Eight Customers
                                                                                                                  Assuming Attributed 
                                                                                                                  Losses for the Eight     Potential Overpayments (Loss 
                                                   Sample Item Allegedly                             SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                      Relevant to Mr.       Loss Attribution    Reimbursements     Overstated by 30%       less 30% if applicable, if not, 
Customer                                 Period         Hazelwood            (Over)/Under        (Over)/Under        (Over)/Under             SVRS Reimbursements))
Cooke Trucking                           2011‐04            No
CRT Transportation                       2012‐03            No
Decker                                   2012‐01            Yes                        13,758            13,676                   9,631                              4,127
Dick Lavy                                2011‐07            Yes                         4,636             5,586                                                          0
                                                               1
Dillon Transportation                    2012‐08            No 
Doug Marquardt/Skyway Transportation     2010‐05            No 1
Doug Marquardt/Skyway Transportation     2012‐12            No 1
Dowell Transport                         2011‐08            No
Dutch Maid Logistics Inc                 2011‐01            No
Dutch Maid Logistics Inc                 2011‐02            No
Equity Transportation                    2011‐10            Yes                         5,420             5,234                   3,794                              1,626
                                                               1
First Choice Logistics                   2012‐10            No 
G & P Trucking                           2008‐08            Yes                         5,633             5,713                                                          0
Gdx Trucking Inc                         2011‐01            No
Grand Island Express                     2008‐05            Yes                           665               487                                                        178
Grand Island Express                     2009‐07            Yes                           136               216                                                          0
Gretna Enterprises LLC                   2009‐08            Yes                         1,196             1,277                                                          0
H & M Trucking Inc                       2011‐02            No
                                                               1
Halvor Lines Inc                         2009‐06            No 
Heniff Transportation                    2008‐12            No
Hill Transportation Inc                  2008‐08            Yes                           709               789                                                          0
Holland Transport                        2012‐07            No 1
Holland Transport                        2009‐11            Yes                           165               245                                                          0
Holmes Company of Jackson Inc.           2012‐05            No
Honey Transport                          2011‐09            Yes                         4,475             4,295                                                        180
Iowa Motor Truck                         2010‐12            Yes                           533               609                                                          0
                                                               1
Iowa Motor Truck                         2012‐10            No 
Issac Transportation/Carlos Rodriguez    2010‐03            No
J‐Mar Enterprises                        2010‐02            Yes                         1,343             1,419                                                          0
K & C Trucking                           2012‐02            No
K & C Trucking                           2012‐11            No
Kenan Advantage Group Inc.               2011‐10            No
Laris Shelman & Sons Trucking            2010‐02            No
MAINE'S PAPER & FOOD SERVICE             2008‐05            No




                       Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                             25  Filed 09/12/18 Page 56 of 60 PageID #:
                                                           18917
                                                              Exhibit 10
                   Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 30% Reduction for Eight Customers
                                                                                                                   Assuming Attributed 
                                                                                                                   Losses for the Eight     Potential Overpayments (Loss 
                                                    Sample Item Allegedly                             SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                       Relevant to Mr.       Loss Attribution    Reimbursements     Overstated by 30%       less 30% if applicable, if not, 
Customer                                  Period         Hazelwood            (Over)/Under        (Over)/Under        (Over)/Under             SVRS Reimbursements))
MAINE'S PAPER & FOOD SERVICE              2008‐09            No
MAINE'S PAPER & FOOD SERVICE              2008‐10            No
Major Transportation Services             2011‐12            No
Midwest Coast Transport                   2010‐05            No
Midwest Coast Transport                   2010‐11            No
Midwest Logistics Inc. / IN               2010‐06            No
Midwest Logistics Systems                 2012‐12            Yes                         6,310             6,432                   4,417                              1,893
Mobility Network                          2011‐06            Yes                         5,065             3,178                                                      1,887
MR Trucking                               2012‐03            No
New Line Transport LLC.                   2009‐06            No
Nick Strimbu Inc ATTN: William Strimbu    2009‐10            No
Nick Strimbu Inc ATTN: William Strimbu    2012‐12            No
Northwest Pallet                          2012‐10            No
Online Transport Inc                      2010‐03            No
Park Transportation                       2013‐01            No
Patriot Transport Inc                     2013‐01            No
Piedmont Express                          2008‐11            No
Pohl Transportation Inc                   2010‐07            Yes                         1,420             1,500                                                          0
Pohl Transportation Inc                   2012‐01            Yes                         1,162             1,242                                                          0
Pollywog Transport                        2012‐05            No
Pope Trucking                             2011‐07            No
Preferred Transport &                     2013‐01            No
Queen Transportation                      2010‐04            Yes                         1,247             1,231                                                         16
Queen Transportation                      2010‐10            Yes                         1,482             1,506                                                          0
R & R Trucking                            2012‐11            No
Refrigerated Express LC                   2012‐10            No
Regal Beloit Logistics LLC (Marathon)     2011‐11            Yes                           243             1,179                                                          0
Rose Acre Farms Inc                       2010‐05            No
Rose Acre Farms Inc                       2010‐12            No
Rose Acre Farms Inc                       2011‐06            No
Rose Acre Farms Inc                       2012‐12            No
RWH Trucking Inc/Southern Service         2011‐09            No
Service Trucking Eustis, Florida          2010‐03            No
Service Trucking Eustis, Florida          2010‐09            No
Sharkey/Sysco/Shipper's Rental            2010‐10            Yes                        17,126            14,170                  11,989                              5,138




                         Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                               26  Filed 09/12/18 Page 57 of 60 PageID #:
                                                             18918
                                                             Exhibit 10
                  Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 30% Reduction for Eight Customers
                                                                                                               Assuming Attributed 
                                                                                                               Losses for the Eight     Potential Overpayments (Loss 
                                             Sample Item Allegedly                              SVRS             Customers Were         Attribution ‐ (Reimbursements 
                                                Relevant to Mr.       Loss Attribution     Reimbursements       Overstated by 30%       less 30% if applicable, if not, 
Customer                           Period         Hazelwood            (Over)/Under         (Over)/Under          (Over)/Under             SVRS Reimbursements))
Sharkey/Sysco/Shipper's Rental     2012‐12            Yes                        33,321              36,027                   23,325                               9,996
Silver Line Building Products      2013‐01            No
Simbeck Inc                        2010‐09            No
Simbeck Inc                        2011‐11            No
Solid Group Inc.                   2011‐10            No
South East Express Inc             2011‐03            No
Stan Koch & Sons                   2011‐07            No
Star Trans                         2009‐10            No
                                                         1
Store & Haul Inc                   2011‐06            No 
T H X Transport LLC                2012‐02            No
T H X Transport LLC                2012‐12            No
Tanks Alot LLC DBA                 2011‐08            No
Taylor Express Inc.                2008‐06            No
Titan Transfer Inc                 2009‐09            No
Tld Logistics Services Inc         2010‐02            No
Transport One                      2012‐08            No
TRANSTECH LOGISTICS                2011‐10            No
Tri‐Hi Transportation              2010‐04            Yes                        3,443                3,517                                                           0
Trio Trucking Inc                  2009‐08            Yes                        1,054                1,138                                                           0
Truckmen Corporation               2012‐08            No
Trucks Inc                         2011‐10            No
TTI Inc.                           2012‐04            Yes                            (7)               307                                                            0
W E L Companies Inc                2010‐03            No
W E L Companies Inc                2010‐11            No
W E L Companies Inc                2011‐05            No
Warren Transport                   2011‐10            Yes                       (3,224)              (5,415)                                                      2,191
West Wisconsin/Leonards Express    2010‐12            No
Wooster Motor Ways                 2012‐08            No
Wooster Motor Ways                 2012‐11            No
Your Town Transport Inc            2012‐11            No




                       Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                             27  Filed 09/12/18 Page 58 of 60 PageID #:
                                                           18919
                                                               Exhibit 10
                    Sample Data Allegedly Relevant to Mr. Hazelwood Modified by a 30% Reduction for Eight Customers
                                                                                                                                     Assuming Attributed 
                                                                                                                                     Losses for the Eight     Potential Overpayments (Loss 
                                                          Sample Item Allegedly                                         SVRS           Customers Were         Attribution ‐ (Reimbursements 
                                                             Relevant to Mr.         Loss Attribution              Reimbursements     Overstated by 30%       less 30% if applicable, if not, 
Customer                                       Period          Hazelwood               (Over)/Under                 (Over)/Under        (Over)/Under               SVRS Reimbursements))
Average                                                                            $                       5,666                                             $                                              1,341
Standard Deviation                                                                                         9,675                                                                                            3,012
Population Size                                                                                            2,309                                                                                            2,309
Sample Size                                                                                                   39                                                                                               39
                         2
Coefficient of Variation                                                                                   27.1%                                                                                            35.7%

Notes
1.  Even though this customer name is included in the Government's August 1, 2018 Notice of No Objection to the Presentence Investigation Report For Defendant Hazelwood, this 
particular month is not included

2. The Coefficient of Variance equals the Average times the Sample Size divided by the Standard Deviation adjusted by the Sample Size and Finite Population Correction Factor.




                             Case 3:16-cr-00020-CLC-HBG Document 673-2
                                                                   28  Filed 09/12/18 Page 59 of 60 PageID #:
                                                                 18920
                                             Exhibit 11
Calculation of Overstatement Assuming Mr. Alexander's Accounting Calculations Are Accurate & Including 
                                 a 30% Reduction for Eight Customers

      Estimated Average Sample Overstatement               (A) = Average Last Column of Exhibit 10                    1,341
      Population Size                                      (B)                                                        2,309
      Sample Size                                          (C)                                                           39

      Point Estimate of Overstatement                      (D) = (A) * (B)                                         3,096,681

      Estimated Standard Deviation of Overstatement        (E) = Standard Deviation of Last Column of Exhibit 10       3,012
      Estimated Standard Error                             (F) = SQRT [ {(B) / (C)} * {(B) ‐ (C)} * (E) ^2 ]       1,104,293

      Degrees of Freedom                                   (G) = (C) ‐1                                                  38
      t‐value 95%, one‐sided                               (H) from Standard Tables                                  1.6860

      Least Advantangeous 95% One‐Sided Confidence Limit   (I) = (D) + (F) * (H)                                   4,958,469

      Precision                                            (J) = { (I) ‐ (D) } / (D)                                  60.1%




                                                        29
                  Case 3:16-cr-00020-CLC-HBG Document 673-2 Filed 09/12/18 Page 60 of 60 PageID #:
                                                      18921
